Case 1:17-cr- -
r-00034-JRH-BKE Document 234 Filed 02/27/18 Page 1 of 122

 

       

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Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 2 of 122

File Number: fj AT-2173732
Recording Name: 170603 _01.WA‘

Source File Information
170603 _01.WAV

Participants:
SAG
SAT
RW
UM

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UNITED STATES DEPARTMENT OF
JUSTICE FEDERAL BUREAU OF

INVESTIGATION

 

VERBATIM TRANSCRIPTION

Special Agent Justin C. Garrick
Special Agent R. Wallace Taylor
Reality Lee Winner

Unknown Male

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USAO-08106
Case 1:17-g6.00034-JRH-BKE Document 234 Filed 02/27/18 Page 3 of 122

File Number: §BAT-2173732 = SECRETHNOFORN. UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA‘

Abbreviations:
[PH) Phonetic
{OV] Overlapping voices
[SC] Simultaneous conversation
{UT Unintelligible
[sic] As stated
[IA] Inaudible
{UM] Unknown male

SECRETYNOEORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
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S247 FAW BKE Document 234 Filed 02/27/18 Page 4 of 122
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Recording Name: 170603_01.WA‘

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RW:
SAT:
RW:

SAG:

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SAT:

SAG:

RW:

SAG:

RW:

SAG:

RW:

SAG:

RW:

SAG:

This is my partner W-parmer, Wally Taylor.
Hey, how are you?

[OV] Hey.

How are you?

Good. How you doing?

Good. How's your day today?

[noises]

Uh, it's pretty good. Just got some groceries.
All right.

Let's show you who we are.

Okay, well, the reason we're here today is that we have a search warrant for your
house.

Okay.

{noises}

All right. Uh, do you know what this might be about?

I have no idea.

Okay. This is about, uh, possible mishandling of classified information.

Oh my goodness. Okay.

{OV]Mm-hmm. So, what we've gotis, uh-again, gota warrant. Uhm, and!I'm
happy to show it to you. WhatI'dlike to do is sit down, talk you witha-talk
with you about it.

Mm-hmm.

Kind of go over what-what's going on. Uh, talk to you, kind of get your-your

side of it. And of course, you-completely voluntary to talk to me. Uhm, we
can-uh-we can talk here. Uh, our office is about five minutes away. Uh, if you

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USAO-08108

2-003
1:17 = -BKE Document 234 Filed 02/27/18 Page 5 of 122
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ecording Name: _ OL. .

RW:

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SAT:

RW:

SAT:

RW:

want to-if you'd rather talk there, then we can do either one. It makes no
difference to me.

Okay.
Do you have any pets?
I do. I have two pets.

[OV] Because you've been gone awhile, so d-do we need to maybe let them out
and use the bathroom and stuff like that?

[OV] I-I do. Would you mind if] at least get some perishables into the fridge?

[OV] And we can do that too, but what we're going to have to-Is it, do you live
by yourself?

Yes,

Okay. What we're going to have to do is we're going to have to go into the house
first and make sure it's-it's safe. We have a-

[OV] Absolutely.

~search warrant and so w-we're a-we're going to.

Absolutely.

Okay. And what we'll do is we'll keep you out here until we do that-
(OV] Uh-huh.

-and once we secure it, we'll, uh-[noise] then we can kind of go from there,
okay?

Of course.

Is your dog friendly?

Okay, so she does not like men.
Okay.

So.

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USAO-08109

2-004
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 6 of 122

File Number:

GB AT-2173732  cecretNoEORN UNCLASSIFIED//FOR OFFICIAL USE ONLY

Recording Name: 170603_01.WA‘

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RW:
SAT:

[OV]Sothat'saproblem. [laughs]

Uhm.

[laughs]

However, and she might, uhm, come towards you.
Okay.

She's never bitten anybody. She's not aggressive.
Okay.

She's just got, you know, a really good growl going. She'll probably just hide
under my desk.

Okay.

[OV] Okay. Do you have a-a m-a leash or something where we could-
[OV] I havea leash.

[OV] Okay.

[OV] I can get her leashed up.

[OV] So what we might want to do is maybe let you go in there with her. And
you're not to touch anything else, you're not to do anything else but get the dog
and bring it out here.

[OV] Yes, I can do that.

fOV] Are we cool? We-w-

[OV] I can move her straight to the backyard.

fOV] Because other-otherwise, if-if we're going to have a problem, we're not
going to do that.

Of course.

{OV] So.

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USAO-08110

2-005
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Recording Name: 170603 _01.WA‘

RW:

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RW:

SAT:

[OV] I understand.

Okay.

Okay.

Uhm, house key?

House key.

[noise]

We also have a warrant to search the car, too.
Yes.

Okay. Do you have a cell phone? [noise] [pause] Okay. [noises] And we'll take
that and then we'll-uh-we'll kind of go from there, okay?

Of course.

Uhm, but like he said, we're-we're completely voluntary, completely up to you
on. But, youknow, I think maybe it-it'd be worth yourtime to listen atleast
foralittlebit.

Definitely. Uhm-

[OV] Okay? And we'll kind of figure out what's going on.

Definitely here to-

[OV] Okay.

-uhm, comply.

[OV] Uhm, so why don't we.

Her leash is, uh, two feet inside the door where I left it this morning.

[OV] Okay.

I can move her straight to the backyard.

{OV} Are there any weapons in the car? In the
house?

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USAO-08111

2-006
Case 1:17-g¢7-00034-JRH-BKE Document 234 Filed 02/27/18 Page 8 of 122

File Number:

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AT-2173732  SECREFYNOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\

In the house, yes.

What do you have?

I have an AR-15.

Is it pink?

It's pink.

Okay.

How'd you know? [laughs]
[laughs] [background

noises]

Uhm, I have a Glock Nine under the bed.

[OV] Okay.

And a-uhm-a 15 gauge.

You sound like my house. Okay.
[OV] Okay.

We're good then.

All right. Just don't make any-any movements for that and then we're-

[OV] And-and-
Yeah,
Yeah, I mean, we're all cool.

[OV] Yeah, I mean, kind of
obvious.

Yeah.

[OV] Okay.

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USAO-08112

2-007
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Recording Namert 70603 OLWA. SECRET/NOEORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
ecording Name: _O1.WA

SAT: oy Youcan p-There's a-that little fenced-in area is where you can put
er?

RW: Yes, yes, and you won't even-

SAT: [OV] Okay.

SAG: [OV] Okay.

RW: -you-you won't take your eyes off of me.

SAT: (OV] And we'll get a water. We can get her water and all that kind of stuff, but
let's-let's-

SAG: Yeah, she's going to been in there-

SAT: - [OV] -let's go ahead and secure her, I think, and then that way-

SAG: [OV] Mm-hmm.

SAT: -and then maybe we can put some of your stuff in the fridge.

RW: Of course.

SAT: And then we'll kind of-

RW: Yes.

SAT: [OV] -we'll go from there, okay?

SAG: Okay.

SAT: So let's do that.

SAG: Good deal.
[noises]

SAT: And this other guy behind-
ub-

SAG: [OV] Goon.

SAT: -is with us as well. And we're probably going to have a few more people

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USAO-08113

2-008
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 10 of 122

File Number:

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SAG:

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RW:

AT-2173732  SECRETWNOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA‘\

showing up here [noise] directly.
[OV] Of course.
[noises]

[coughs]

Doo doo doo.

{noises]

So we're going to get the dog and, uh, bring it out there.
Okay. I got her.

All right, girl, let me get your leash. Leash, collar. I know, there's people out
outside[UI]. Uh, leash, collar.

[laughs]
Is that the only pet?
There is a cat. She will go straight under the bed.
[OV] Okay.
[noises]
[OV] Uhm, again-
[OV] Uh-
~doesn't like men. Starting to see a trend here.
[SC] {in background] Allright, coming out here.
[OV] Yeah.
Come on girl. [noises}
Hey sweetie. Hey sweetie.

Backyard.

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USAO-08114

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oo RH KE Document 234 Filed 02/27/18 Page 11 of 122
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Recording Name: 170603_01.WA’

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SAT:

RW:

[SC] [in background] Hey, you all come on out. Found her, like three minutes
ago.

Yeah, she knows where we're going. Come here.
[laughs]
Come here, honey girl.
What's her name?
Nicky [PH].
Hey, Nicky.
Nicky girl.
[OV] Hey there. She doesn't know what's going on though.
[noises]
There you go. All right [IA].
[background conversation]
And you don't have any weapons or anything on you, do you?
No. |
There's none in the car? -
Uhm, in the car, no.
Okay. [noises} All right, so, let's, uh, hang on just a second.
Can I close the door for my cat?
Yep.
[noises]
All right, good. That's all I care about right now.

[noises]

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USA0-08115

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ase 1:17 34. -BKE Document 234 Filed 02/27/18 Page 12 of 122
File Number: fA 122173732 SECRETFANOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA‘

SAT:

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UM:

SAT:

RW:

Okay. Uhm-

[OV] Uhm-

~so the only thing in there now that's alive is the cat?
Yes.

There's not a person?

No person.

No other dogs? Okay, ]i-. Uhm, they on their way?
They're pulling up.

Okay.

All right.

So why don't we. Probably want to get that stuff in.
Yeah.

Can we put most of that in the fridge?

Yeah, it's all going to-

[OV] We're not going to have to unpack all the bags and all that kind of stuff.
Okay.

Okay. [noises] Why don't we, uh. You want to stay out here with-with her fora
minute?

[OV] Yeah.

And Joe and I will walk through.

Okay. [noises] Why don't they just-

[OV] Again, just to explain to you, we have a search warrant. It's-it's-

[OV] I understand.

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USAO-08116

2-011
se 1,17 4-JRH-BKE Document 234 Filed 02/27/18 Page 13 of 122
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Fie Ni umber: : SECRETHNOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA‘%

SAT: -it's en route. So, uh.
[noises]
SAG: It's all right. Uh, just making sure-just checking to make sure there's nobody
else in there or nothing-surprise-surprise us or anything like that.
RW: Yup.
SAG: So.
RW: I want to make this as easy for you guys as possible.
SAG: Okay. Likewise. So, hopefully, explain things, [noises] get to, uh, figure this all
out and, uh, wrap it up. [pause] [noises] How long have you had your dog?
RW: Uh, she's actually a foster. I'm rehabilitating her so hopefully she can get
adopted later on. Uhm, she's a rescue. I think I got her in March.
{noises}
SAG: Okay. How-uh-how old is she?
RW: Oh, we don't really know. She's one of those.
SAG: [OV] Uh, yeah, my-uh-[noises] one of my dogs was a rescue and when-when I

got him. He wouldn't. Uh, I was the only guy who could touch him.

(background IA conversation]

RW: Mm-hmm.
SAG: {OV] And this was-well, probably three years. Anybody else came in the house,
especially male, he'd pee-
RW: [OV] Hmm.
| SAG: -all over the place. But I could touch him and it was fine, and it's fi-I mean,

he's seven years old now, he just comes up to everybody. Licks his hand, he's
great. And so whoever had him before was a real-

RW: Mm-hmm.
SAG: -uh, was areal piece of work.
RW: Oh yeah. She was kept in a kennel and neglected her whole life and...

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2-012
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Recording Name: 170603_01.WA‘

File Number:

UM:

SAT:

RW:
SAT:

RW:

RW:

UM:
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UM:

UM:

[IA background conversation]
Hmm.
[in background] Yeah, no, if you have to [IA].

All right. Why don't we, ub-let's get those groceries and let's throw them in the
fridge real quick.

Mm-hmm.

And then we'll, uh, bring you back out here, okay?
[OV] Yep.

[OV] House is cleared.

{noises]

Absolutely.

[noises]

These gloves come in [UI].

Yeah. Yeah, [UI] the recorder [UI]. UM:

[SC] [UT] going to put up pictures [UJ].

Huh?

The recorder [UI].

[SC] Yeah, there's some in the back of that, uh-
[OV} [U]]

[OV] -suburban. [UT]

Is that going?

(1A]

[noises]

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USAO-08118

2-013
se 1:17- - -BKE Document 234 Filed 02/27/18 Page 15 of 122
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ecording Name: O1.WAY

UM: No. Then, no, don't worry about it.
[noises]
UM: I'm just looking [UI] real quick.
UM: [Uy]
UM: If you could step over [IA].
RW: Yes.
UM: And just stop right there [UJ].
[noises]
{IA background conversation]
UM: Yeah, probably [UJ].
UM: [IA]
UM: We're going to [UI] I walked through [UT].

[IA conversation] [noises]

UM: All right. [LA]
[noises]
UM: Sounds like [UI].
SAT: Do you want to just throw that in the fridge? And we'll just-
UM: [OV] [IA]
SAT: -throw all these bags in the fridge.
[noises]
RW: Yep.
UM: Is that-
UM: Got her?

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USAO-08119

2-014
Case 1:17-c 34-JRH-BKE Document 234 Filed 02/27/18 Page 16 of 122

File Number: MAT 357 SECRET/NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA‘

UM: You got one here.

UM: (OV] Yep.

SAG: Uh, no, that's it for the perishable. Should be.
UM: [OV] Okay.

[IA background conversation] [noises]

UM: [UI] the neighbors [UI].

UM: Mm-hmm.
[noises]

SAG: See, it looks like we might be blocked in. Can we borrow your truck keys?

UM: What you need?

SAG: We're going to be going back to the office, so.
[background voices]

UM: Yeah.

SAG: Unless-unless-

UM: [OV] (UJ

SAG: -we can just move it. [noises] Okay. [noises] All righty.

SAT: There's a cat in the house-

SAT: In the bed, where-it was on the bed.

UM: [OV] -on the bed.

UM: Okay.

SAT: Or it was on the bed.

UM: [OV] It's-

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-2173732 = SECRET/NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY

Recording Name: 170603 _01.WA‘

SAT:

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SAG:

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RW:

SAG:

RW:

[OV] It'll maybe go under the bed at some point.

And the dog is in the backyard in the fence. Does-does she need water?
[barking]

She'll be fine. She's been inside all day with her water.

Okay. All righty. All right. So, uhm, would you like to talk here or talk-uh-
talk at the office?

Uhm, let's go ahead and talk here.
You want to talk here?
Sure,
Okay.
[background conversation]
Uhm- let's. I'm trying to think if we have any place-uh-uh-in the house
that-uhm-that we can kind of sit down that's, uh, private. Is there-do you
have anything there in the house that we can kind of sit that's away? How many
rooms does your house-
[noises]
[OV] Away? Uhm, so there's one bedroom. I do have a spare bedroom that |
don't use that's empty. I don't like to go in there. Uhm, I guess I-I don't have
anything that's completely closed off though-
[noise]
[OV] Okay.
-except for that back room.
Okay, that back room?
[OV] Yeah, there's-
[OV] And it's-it’s completely empty?

Yeah. You'll go in there. There is one dog kennel cage. Other than that, ] don't
use the room.

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2-016
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Recording Name: 170603_01.WA‘

SAG: Okay. All right. Uh, you said you don't like to go in there. What -

RW: Y-It. Oh gosh, it's just creepy. It's just weird. It's like an addition to the house
behind the kitchen and it's always dirty and....

SAG: Okay.

RW: [laughs]

SAG: Uh, we can talk back there if you're fine going back there. It's, uh-

RW: [OV] Yeah, we can go back there.

SAG: Okay. Allright. We'll take — ub — there's a — there's a back room that's — uh
uh-we can-

SAT: [OV] Kind of like the laundry-

SAG: -that she'd like to talk in.

SAT: -supposed to be the laundry room?

RW: [sighs] I guess so.
[noises]

SAT: Kind of off the kitchen?

RW: . Yeah.

SAT: Okay. Okay, yeah, that'll work.

SAG: Okay.

SAT: It’s too hot out here for-

SAG: [OV] Yeah, and we're not going to s-we're not going to make you sit out here-

RW: [OV] Yeah.

SAG: -in the heat.

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USAO-08122

2-017
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AT-2173732  SBCRET/NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\

File Number: fi

RW:

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SAT:

I can make a pit stop and bring the A/C down a bit, too, if you guys need that.
(OV] Okay.
Allright, then.

[OV] Well, what's going to happen is-uh-they'!J-uh-they've got to do their
thing for a minute and then-

[OV] Of course. Uh-

-we can go in.

-do they need me to make sure my car's unlocked?
Yes, yes.

[OV] We'll, uh-

[OV] Uh, yeah.

-we'll grab the keys and —

Okay.

So.

Get the password for it.

What's the, uh. How do we open this?
Okay. Soyou, uh-

[OV] Just. Hang on.

[OV] -press that. There you go.

Okay.

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USAO-08123

2-018
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File Number: §JAT-2173732 = SECRETWNOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA‘

UM: What kind is it? An iPhone?
SAG: How long have you lived in Augusta?
RW: Uhm, I was here October 2015 to April 2016, uhm, TDY. And then I moved back
here just past December.
SAG: Okay, so you're kind of familiar with the-
RW: Familiar, yeah.
SAG: Yeah. What do you think of it?
RW: I mean, I willingly moved back here as a civilian, so-
SAG: [laughs]
RW: ~it must be all right.
SAG: Willingly. You say that-you say that begrudgingly.
RW: Yeah, it was pretty much. Ub, NSA Georgia was the only job I could get.
SAG: Okay.
RW: Yeah. I was having problems getting, uh, the contract I wanted.
SAG: What contract were you going for?
RW: Uhm, I originally- my big plan is to deploy as a Pashto linguist over-
SAG: [OV] Okay.
RW: -and be at Baghram for awhile.
SAG: Okay.
[background conversation]
[vehicle noises]

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USAO-08124

2-019
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 21 of 122

File Number: MMJAT-2173732 gpeRET¥NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA‘

RW: Uhm, but then they hired me out here for Farsi, so.

SAG: Okay, so you're Farsi and Pashto?

RW: Farsi, Dari, Pashto.

SAG: Wow. That's impressive.

RW: [laughs]

SAG: I barely-I'm barely able to speak English.

RW: Oh. [laughs]

SAG: So.

RW: English is hard.

SAG: Hmm.

SAG: Uh-but. Yeah, I noticed that with-uh-[coughs] especially here in Augusta,
it's-it's great with-for families, butsingle, it'skind of tough. Like, I can't
imagine coming back.

SAT: How is this-You've got a password on this or what do you —

RW: Uhm, no, there's no password.

SAT: [OV] How do we-how do we do it? Show me how to do it, or tell me how to do
it.

RW: Okay.

SAT: Swipe that?

RW: Yeah.

SAT: No security?

RW: No security.

SAT: Okay.

RW: [OV] Yeah, so.

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USA0-08125

2-020
Case 1:17-
File Number:

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AT-2173732 = SECRETWNOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA\

[OV] But you don't have a password or anything that it-
[OV] No password, nothing.
Okay.

Just, uh, anytime it locks, uhm, you just press until you see, like, a little circle,
and then you slide just a little bit.

[OV] Okay. So it's-

[noises]

Did you already show her the warrant?

Uh, no, I haven't. I was going to-we're going to sit down and show it to her.
Allright. So we're going to go ahead and go in.

Okay.

[OV] Yep.

[pause] As soon as they finish the pictures we can go-get out of the gnats.
Oh yeah, they're pretty bad.

[background conversation]

[vehicle noises]

How long were you in the Air Force?

Six years.

Okay.

Yeah.

Hmm. What made you get out?

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2-021
Case 1:17-¢.00034-JRH-BKE Document 234 Filed 02/27/18 Page 23 of 122

File Number: §@MAT-2173732 = SECRETNOFORN UNCLASSIFIED/FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA‘

RW: Uh, I just-I wanted to deploy. I mean, I learned Pashto for areason-

SAG: Mm-hmm.

RW: -but-uhm-that's just-those opportunities aren't there in the Air Force right
now.

SAG: Hmm. You'd figure that with that language, you could-

RW: Right? [laughs]

SAG: -just raise your hand they'd go, “yeah, go.”

RW: Uh, no, where I was in, uh, Maryland, squadron of, like, 450 people, we got one
billet per year for Afghanistan, and it was all-always airborne. Not even
language.

SAG: And the-so I imagine people were just crawling for it.

RW: Oh yeah, and I don't have an airborne physical, so. Yeah.

SAG: Hmm. So, Augusta, Georgia it was, huh?

RW: Yeah. [laughs]

[barking]

UM: Is your dog okay? Does it need anything?

RW: She's fine.

UM: She?

RW: Yeah. She's-

* SAG: [OV] If youcan tell, we're all dog people.
RW: Oh. [laughs] I know. She's going to have her little anxiety attack.
[pause]

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USAO-08127

2-022
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 24 of 122

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Recording Name: 170603_01.WA‘

SAG: Where all were you with the Air Force?
RW: Uhm, just right after training, went up to Fort Meade and spent four years there.
SAG: That's a long time in Maryland.
RW: It is. And there was no opportunity of leaving.
UM: I can beat you. You know where my first Air Force assignment was?
RW: What?
UM: Minot, North Dakota.
RW: Oh, nice.
UM: Kind of hot like this up there.
UM: [laughs]
UM: It’s -
SAT: For what, a day?
UM: [laughs]
UM: Yeah, like for an hour, right?
[laughter]
UM: Five o'clock on July 17.
SAT: [laughs] Right.
SAG: Yeah, I was seven years in DC, and that was about six and a half too long.

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USAO-08128

2-023
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 25 of 122

File Number:

AT-2173732 — SECRETMNORORN UNCLASSIFIED//FOR OFFICIAL USE ONLY

Recording Name: 170603_01.WA‘

RW:

SAG:

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UM:

SAG:

RW:

Oh, yeah. DC.

[pause]

They keep asking if I want to go up there. I'm like, “uh, no. No. No, thank you.”
I'm done with that.

[barking}

She [IA].

[barking]

My poor dog. [ just got her acclimated to the backyard again yesterday.
[laughter]

She was boarded all weekend, so. I was out of town.

Oh. Yeah, might-might have to work on acclimation.

[laughs]

She's not-probably not going to like the backyard after being forced out
there for a few hours.

[OV] Oh, I know. She gets so anxious. And then we're, like, off schedule
because she won't go, and so I'm just like, whatever, we're going inside. And
then three seconds later she goes on the carpet.

Mm-hmm.

Is she destructive at all when she-when you leave her alone?

Yes. [laughs] She's just a nervous chewer.

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USAO0-08129

2-024
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 26 of 122

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Recording Name: 170603_01.WA\

SAG: ’ Yeah, my, uh-one of mine, she's fine, you can leave her out all day long, all she
does is sleep and snore. Shakes the whole house.

RW: [laughs] Yeah.

SAG: My-uh-my rescue, he is. We-we left him out for probably the first two

weeks. He destroyed the couch. [noises] Clean through, chewed it. And, uh, three
Applepower cords. The computer power cords.

RW: [groans]

SAG: Ninety bucks a pop.

RW: Yep.

SAG: Yeah. I was-I was thrilled.

RW: {laughs]

SAG: But. Yeah, turns out he's much, much happier when he's-uh-if we got to go

away for a little bit, he's in the crate with — as long as the other dog's in there
with him, then he's fine.

[pause]
SAG: Where do you do CrossFit at?
RW: Uhm, right now I'm at SEC. Uhm, they used to be over on Enterprise
Court -
SAG: Mm-hmm.
RW: -off of Bobby Jones but we moved. We're over on Wheeler. Uhm,: but my

friend is re-opening the Under Box. Uhm, they merged with SEC, things didn't
work out, and so now she's going to do her own thing.

SAG: Going to go off?

RW: Yeah. So I'm just waiting for her gym to open to jump ship. [laughs]

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2-025
Case 1:17-g¢r-Q00034-JRH-BKE Document 234 Filed 02/27/18 Page 27 of 122

File Number:

AT-2173732  SECRET/NOBORN UNCLASSIFIED//FOR OFFICIAL USE ONLY

Recording Name: 170603_01.WA‘\

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RW:

SAG:

I did it for like six months, and I hurt myself.

Oh.

Just every single day was just pain.

Yeah.

So, I don't know. Guess I'm just too old and broken.

I mean, I always say I don't do CrossFit. Uhm, I do competitive power lifting.
Okay.

And then I do CrossFit when it's convenient. [laughs] But I do love working out
at a CrossFit gym. You know, the space-you can't beat that.

No, ub-uh.
In between classes, | just get free run of the gym.

What's your, uh. So power lifting, what's your-your preference on? What's
your favorite stuff?

I'm just all upper body, so bench, It's kind of sad. I tested all my lifts this week
because I have a competition on June 24

Mm-hmm.

And bench is 180. Max back squat. I have a back injury, so my max back squat
is only 195. But! don't. [laughs]

Still-still not shabby.

[laughs] They should not be that close. [laughs]
Uh, how'd you hurt your back?

CrossFit.

Oh.

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USAO-08131

2-026
File Number: il:

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-2173732  SECRETYNOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY

Recording Name: 170603_01.WA*

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SAG:

RW:

Uh, just power cleans. My, uh, pelvis wasn't rotating so I separated that side
joint.

[noise]

That sounds painful.

Yeah,

I did, uhm- I was doing box jumps, and this hand just-I was doing it by
myself-hit the box and, I mean, I-I thought I just fractured every bone in the
body-in the-in the hand. And I went to-I had to go to the doctor to get the-
get the X-ray. And they said, “so how'd you do this?” CrossFit.

[noise]

Four times they asked me. Said, no, I didn't get in a fight.

[OV] Tchhh.

It's CrossFit.

Yeah, I thought I could see the bone on my shin from that one. That's over two
years old.

Wow. What was that?
[OV] Box jump. Just missed the box. [laughs]

Yeah, that's amoment that you really hope did-ah, did anybody see that?
[noise] Ireally hopenobody saw that.

I got so mad. They're just like, you just threw a handful of chalk on it and then
you kept going. [laughs]

(snorts} That's commitment. [noise] Oh.
So I do have to ask, uhm, just however-
[OV] Mm-hmm.

-this goes, I'm not making any assumptions, but is this going to be like al -

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2-027
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Recording Name: 170603_01.WA‘

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RW:

SAG:

brought-my-phone-into-the-building-type situation where] don'tsee that phone
for three weeks or... ..

So we'll go over the warrant itself.
Okay.
Uhm, so, we do have a warrant for the phone, so.

I didn’t want to make any assumptions or anything like that, but I am teaching
yoga tomorrow and phone has music on it.

Okay.

[laughs] Uhm-uhm-I could make do. Like, there-there are bigger problems in
the world, I guess.

Yeah. And we'll-we'll-we'll talk about that once we-once we sit down.
[OV] Allnight.
[pause]

You have just a few chairs-like kitchen table chairs we can pull into that-uh-
that backroom?

{laughs] No, I, uh.

[OV] Or we going to be sitting on the floor?

{laughs] Yeah. If you want to sit, yeah. [laughs] I'm not big on furniture.
Okay. Uhm, I wonder if we have a couple of chairs in the —

Might be a couple in Chuck's truck. ,

Might be.

Sorry about that.

No.

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2-028
Case 1:17-@,00034-JRH-BKE Document 234 Filed 02/27/18 Page 30 of 122

File Number: §JAT-2173732 — SECRETHNOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA‘%

SAT: How long have you been in this house?
RW: Uh, moved in [sighs] December 15th
[pause]
SAG: Okay. We're good.
UM: [SC] Hey, do you have any chairs in your truck? Uh, fold-up chairs.
RW: Would it be too much to ask if] could try to get the cat on a leash and then tied-
UM: [SC] Uhm.
RW: -to the bed?
UM: [SC] Uhm, I don't remember seeing any. I think they're in the truck.
RW: Uh, just so don't-I don't want to be, like, telling someone in the FBI to keep my
front door closed, if you all are doing a search.
UM: [Ul]
SAG: [OV] Uhm. What's that?
SAT: I don't see a problem.
SAG: I don't see a-I don't see an issue. Uh-uh-where is the catright now?
RW: On the bed.
UM: [OV] In the bedroom, in the bed.
SAG: Okay,
SAT: [OV] Still in the bed?
UM: I think so.
UM: Yeah.

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2-029
FAS Ridabe Mea Be Document 234 Filed 02/27/18 Page 31 of 122

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Recording Name: 170603_01.WA‘

SAG:

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SAT:
RW:
SAT:
RW:

SAT:

Okay. [noises] Yeah, we can do that. Where-uhm-just safety's sake, where are

the. There's the weapon and the, the-
[barking]

The weapon, it's right by the little table with the lamp, right under the bed.
[background conversation]

Okay. All right. We can go ahead and go in.

Mind if I grab a leash?

Yeah, that's fine.

[pause]

Over here?

Yes, right under the bed.

The cat's under there.

[IA]

He's under the bed. Or she's under the bed.

The AR's in this case in here?

Yes.

Where's the other gun?

It's behind it, more against the wall in a black case.

Okay.

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2-030
Case 1:17-cy-
File Number:

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SAT:

SAG:

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Recording Name: 170603_01.WA‘

You mind if [UJ]-

[OV] Take it.

-[U]] ifyou get the cat?

Yep.

Okay. Is there anything else in there?
The what?

Didn't see nothing there.

Do you want to get your cat?

Yeah. Uh, thank you. [noises] [pause]
Allright, she's good.

Okay. Good enough.
All right.

Want to go back here?

Yeah, you can go ahead and go back in there.

[conversation in background]
Oh, this room is dirty. I'm so sorry.
That's okay.

No, that's fine.

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2-031
“File Number: iil

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Recording Name: 170603_01.WA\

SAT:

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SAG:

RW:

Not a problem.

All righty. So, uhm, again, uh, my name's Justin. You probably don't re-
Remember any idea of who I am. [laughs] So, Justin Garrick with the
FBI. Uh, this is Wally. He's my partner. Uhm, so what I want to do is
kind of explain that we, you know, do have a search warrant-you're
welcome to see the warrant, you're welcome to read the warrant-and
then explain a little bit about it. Now, if you're willing to talk to me,
like to go through just kind of how this started and, you know, get your-
your side of it and figure out what's going on here. Okay. Does that
sound-sound good to you?

Okay.

Okay.

Yes.

Uhm, so I'm going to take-uh-right here-I'm going to take-uh-notes-
uh-just random basis. Got to take notes.

[background conversation]

So, uhm, what is your date of birth?

Okay. And your Social?

Uh, do you need water or anything? Are you-

[OV] I, uhm-

-thirsty? You're what? If you need water, shout it out.
Okay. I'll let youknow.

[OV] Are you thirsty?

Not right now.

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File Number: im

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Recording Name: 170603_01.WA\

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RW:

Okay.

Thanks.

All right. Uh, if you need to use the restroom, any of that, let me know. It's not a
big deal. Okay. And, uh, you've been living at this address here since December.

Fifteenth.

Fifteenth of 2016?

Yes.

Okay. And where were you born?
Alice, Texas.

Alice like-

Like-

[background conversation]

Like the name, yeah.

[OV] Like the name. Okay. And currently, uh, you're employed as a g-uh-
contract-uh-linguist with Pluribus?

Yes.

Okay. How long have you been employed by them?

I started on 9 February 2017.

Okay. And where are you currently assigned?
Currently assigned. Like the, uh, NSA 21 code or —
Uh, just-you can-you can tell me the building.
Okay.

[OV] Because we have-

[OV] White Law Building, second floor.

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2-033
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File Number: ill AT-2173752 SECRET/NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 _01.WA\

SAG: Okay. So.

SAT: I'msorry, what languages you said? Uhm, I-Iheard.

RW: Farsi, Dari, Pashto.

SAT: Okay.

SAG: Okay. [noises] Any other?

RW: No.

SAG: [laughs] I'm kidding. I think that's enough. That's really impressive. Okay, and
you live here, uh, by yourself?

RW: Yes.

SAG: Okay.
[noises]

SAG: Very hard without a table and chairs.

RW: I'm so sorry.
[laughter]

SAG: It's — you don't have to apol-it's your house. Uhm, if you-if you do feel

like, you know, you want to sit or anything like that, we'll sit, okay? You know,
we can sit on the floor, I don't care. Uhm, if you sit on the floor, I'll sit on the

floor.
RW: Okay. [laughs]
SAG: Uh-uhm-and I'm serious about that. If you want to sit, please, I'll-I'll sit

downtoo. Uhm, okay. So, uh, again, we havea warrant. Uhm-andit's in-do-
would you like to see it?

RW: Yes, please.

SAG: Okay.

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2-034
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File Number: MMBAT-2173732  gECRETWNOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA‘\

[pause]

SAT: That just gave us the authority to search. It's signed by a federal magistrate
judge. This attachment, Attachment "A", is just explaining the property where we
can search. The residence, the car, and then you.

RW: Hundred forty-five pounds, you guys flatter me.

SAT: [laughs]

RW: Sorry. I have a sense of humor.

SAG: [laughs]

SAT: Okay.

SAG: It was on your driver's license,

SAT: That's right.

RW: Okay, I lied.

SAT: Uh, don't we all? So Attachment "B”, which is three-four pages-just explains

the property that we are searching. Not saying all of that's here, but that's what
we're authorized to search for.

UM: [SC] [IA}

SAT: And seize.

UM: [SC] [UT] You all [UT] laptop right here [UT] so we'll just go ahead and [IA]. Did
you see where it was?

UM: [SC] Yeah.

UM: [SC] It's right here. And, uhm, [JA].

[IA background conversation]

[pause]

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2-035
Case 1:17-g,00034-JRH-BKE Document 234 Filed 02/27/18 Page 37 of 122

File Number: Wlar 217372 SECRET/NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA‘

SAT: Any questions about any of that? It's probably still a little confusing to you,
but.

RW: Mm-hmm.

SAT: But I think as-as he-we go along, I think maybe some of it will become more
clear. But just if anything-

RW: Mm-hmm.

SAT: -sticks out, is there any questions you have about that?

RW: No.

SAT: Okay.

SAG: Okay.

SAT: And we'll leave a copy of this-

SAG: Yeah, we'll leave a copy.

SAT: [OV] -with you. Uh, this will be your copy.

SAG: Okay. So-

SAT: [OV] Okay.

SAG: -uhm-all this-uh-stems from a report that we received that you had

mishandled classified information, okay? So, that's, uh,the broad scope ofit.
Uh-my-uh-question is does that-does thatring any bells toyou
whatsoever?

RW: It-it does now. When I started working at White Law I had-do you
know PKI passwords?

SAG: Mm-hmm.

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2-036
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File Number flpAT-217372 SECRET/NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA‘

RW: Uhm, I had a printed-out email in my folder, and I didn't have a desk yet, so I
took it with me-uhm-passed through security, went to Starbucks, and then
came back, and they looked through it, and unfortunately the email that I had
printed out was classified. And they filed a report for that.

SAG: And when was that?

RW: That was approximately [pause] probably February 15% of
16th.

SAG: Of this year?

RW: Of this year.

SAG: So it was part of the PKI certificate?

RW: Yes.

SAG: And you had gone to Starbucks, come back, and-

RW: [OV]

SAG: -they checked-they checked a bag or-

RW: [OV] Uh, they checked my folder. I was still in processing, so it was just-
uhm-if you're familiar with White Law, you go through the turnstiles just to get
to the cafeteria and back.

SAG: Okay.

RW: | So yeah, I was-

SAG: [OV] So you had-you had gone to the cafeteria?

RW: Yeah.

SAG: So you were in the building and they nabbed you for-

RW: [OV] Mm-hmm. Yeah.

SAG: Okay. All right. But you're still in the building?

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2-037
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Recording Name: 170603 _01.WA\

RW:

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SAG:

Uh-huh.

Okay. All right. Uhm, so what-uh-what's your work role there at-
uh-at White Law?

Currently I translate graphic documents, uhm, and then. Yeah, that’s all I do.
[OV] Okay.

From Farsi to English.

Graphic documents?

Yeah.

Okay.

[pause]

You're assigned to a specific section, I guess, or a group? Is that the way it works
over there?

Yes.

And what is that group or section?

[OV] Uhm, it's the Iranian Aerospace Forces Office.

Okay.

Have you been assigned there your entire time there?

Yes, since February.

Okay. All right. Uhm, is there any other issues or anything that come to mind
that might be-might explain [noises] why the report might have been generated?
Anything that comes to mind-uh-like, ch, it may be this, may be that?

No.

No? Yeah. Okay. [pause] Uhm-so-and youcurrently holda TS/SCI

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2-038
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Recording Name: 170603_01.WA*

clearance?

RW: Yes.

SAG: Okay. How long have you had that?

RW: Uh, I would say since January 2013.

SAT: So you had that while you were in the Air Force?

RW: Yes.

SAG: And you kept it through-through the. Did you-wh-I guess when you left-
uh-left the Air Force, youkept. When did youlea-- Whendid you process
out of the Air Force?

RW: Uhm, | processed out of the Air Force, uhm, December-uh-four-December

14th, uhm, 2016. And, uhm, up until that time, I had been looking at contracts to
try to get my clearance, uh, renewed.

SAG: Okay. And wh-when did-uh-when did-uh-Pluribus pick you up?

RW: Pluribus picked me up-I believe they gave me the notification around January
11%. between 11" or 131 Around that day.

SAG: Okay. All right. So your-uh-your clearance just kind of passed through.

RW: Itpassed through, yeah.

SAG: Okay. All right. So-uhm-as far as you're aware [noise] you haven't
committed any security violations or anything you're aware of, other than-than
this PKI thing?

RW: Other than the PKI thing, no. I mean, I-I do print documents at work because,
ubm, it's just easier for me to translate them by hand.

SAG: Mm-hmm.

RW: ButthenI put them in the box, and then it doesn't getmixed up with, like, my
class notes that I take, because they're-like-I use pretty paper so I never take
out white paper.

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2-039
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Recording Name: 170603_01.WA

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RW:

Hmm, got it.

[OV] Uhm, we all-Because I know that sounds really dumb, but that's just how I
can do it now. After that stupid PKI thing, I was like, no more white paper out of
the building.

Okay. So you-you-you said you printed out stuff?

[OV] Yeah. I printed out-

[OV] Is there a-

stuff.

{noises]

[OV] -is there a~uh-why did that come to mind as far as security?

Uhm, it just. I guess it always-I just think about-uhm-you know-having
actual papers. I-I can'timagine any other way to get things out ofthe building, I
guess. I'm old-fashioned, so I'm just thinking about that. And especially with the
PKI thing-uhm-just making sure I didn't accidentally have something in my
lunchbox or anything like that.

Nothing got out of the building?

[OV] Nothing.

[OV] You didn't care anything out of the building?

[OV] No. No, I definitely let everything get searched all the time. So, I haven't
had any other accidents.

Okay. All right. So, as far as anything that. I mean, you're. So with Iranian
Aerospace, I mean, you're-you're fairly well boxed in, so that's-that's what
youconcentrateon?

Yes.

Do you work any other matters? Anything like that?

No.

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Recording Name: 170603_01.WA‘\

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SAG:

Okay. So, uh-so you-you certainly-I mean-you have-you have the access
[noise] and you have the need-to-know on-on, uh, on that aerospace stuff. Have
you ever inadvertently, either by accident or-or intentionally or whatever-gone
outside your access of-as far of-or outside your need-to-know on items?

Outside of my need-to-know on items. Uhm, I do, from time to time, look at a
website called My Online, and it is the drone feeds, I used to work a drone
mission-

Mm-hmm.

-so sometimes I'll be in chat with, uhm, my Air Force friends up in Maryland
and I'll be watching the mission that they're executing.

Okay.

Uhm, so it's Afghan stuff. Uhm-and other than that, J mean, just reading basic
news articles on NSA Net.

Mm-hmm.
Ubm-but I've never accessed anything that's, like, [UI].

Okay. Have you ever gone-gone searching for stuff that's not related, uh, to,
uhm, to your-your work role?

No, not unless I have somebody in Maryland ask me a question.

Okay. Uhm-and I mean, you've kind of already answered this-have you ever
taken anything out of, uh, the NSA facility? I mean, you mentioned the PKI,
but -

Yes.

_ outside of that, have you ever taken anything out of the facility?

No.

No? Uh, whether it’s a piece of paper. Have you downloaded anything?
Emailed anything out?

No.

No? Okay. Mm.

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Recording Name: 170603_01.WA‘

[pause]

SAG: Have you ever, uh, discussed, uh, any classified material with anybody who
wouldn't have, uh, the prior U.S. government authorization? Who wouldn't have
the clearance or anything like that? Wouldn't have the clearance and the need-to-

know?

RW: No.

SAG: No? Okay.

RW: Not many people ask about Iranian aerospace, so I lucked out.

SAG: So you never discussed, uh, discussed work or anything classified with
anybody-

RW: [OV] Ub-uh.

SAG: -outside of work?

RW: No.

SAG: [sighs]
[pause]

SAT: How's the neighborhood?

RW: I did not look at a map when I signed the lease, uh, but I'm well armed.

SAG: [laughs]

SAT: You seem to be.
[laughter]

SAT: What are your plans? You going to stay in the house or are you going to move
somewhereelseor -

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Recording Name: 170603_01.WA‘

RW: Uh.

SAT: Did you sign a lease, I guess?

RW: I signed a lease, and I would only break it if I get a deployment.
[coughing]

SAT: [OV] Yeah.

RW: [OV] So.

SAG: Mm-hmm. Have you had any issues here, since you moved here?

RW: I did, yeah. [laughs]

SAG: What happened?

RW: Uhm, I came home from a concert in Atlanta. It was about three a.m. and-
[background conversation]

RW: -there was a man on the street, so I was making sure that, you know, he could

not see me go from my car to the house. [noises] Uhm,and I thought I timed it
out well. And I'm standing there at the sink getting water and someone starts

knocking on my door--

UM: [OV] Do you have a toothpick?

SAT: [OV] Huh?

RW: -and-at three a.m and my keys and my phone were right by the door where |
dropped them, because I had to pee. Uhm, so yeah. [laughs] very glad to have a
Glock Nine in the back.

SAG: Oh. Yeah.

RW: [OV] Did not sleep. [laughs]

SAT: I'm sure.

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SAG: {OV] Anything other than that?

RW: Other than that.

SAG: [clears throat]

RW: Uhm. No. There's this-people always ask if you want your lawn done and

someone came and mowed my lawn while I was in Belize last weekend. So I'm
notreally cool with that. [laughs]

SAT: I imagine not.

SAG: [OV] They're probably going to come by and ask for-knock on the door and
ask to be-

SAT: Yeah.

RW: [OV] Yeah.

SAG: -compensated.

RW: Yeah. I mean, he's-

SAG: [sneezes]

RW: If-if it was the guy I paid last time, he's this little old man, like, in his eighties, so I
won't be, like, really mad but-

SAT: [OV] Right.

RW: Yeah.

SAT: Right.

RW: [laughs]

SAG: When-uh-when did you go to Belize?

RW: I left on Saturday morning and flew back Monday morning. Just last weekend.

SAT: That was a quick trip to Belize.

SAG: [OV] Uh, a quick trip.

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RW: It was quick. [laughs]

SAT: What'd you go down there for?

RW: Uhm, I wanted to see the Mayan pyramids.

SAT: Okay.

RW: And so. Yeah.

SAT: That's pretty cool.

RW: I didn’t have any leave, and I was just tired of waiting for the stars to align, so I
just said-

SAT: [OV] Sure.

RW: -you have three days, do it.

SAG: [laughs]

SAT: That's cool.

SAG: Fair enough.

SAT: Spur of the moment. That's pretty cool.

SAG: Did you go there by yourself or.

RW: [OV] Yeah. By myself.

SAG: [OV] Okay. Did you do any tours or anything down there?

RW: On the first day, they took me to, like, an Alton Hau [PH] tour. So, that's one of

the sites. And then the second day, we went, uhm, down the river on a boat, and
we did the Lemani Pyrmaids, and then came back. And then, yeah.

SAG: Okay.

SAT: Uh-huh.

SAG: All right.

RW: Saw a bunch of monkeys.

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SAT: {laughs}

SAG: So you're positive you've never printed anything out that was outside of your
work role?

RW: Trying to think.

SAT: [clears throat]

RW: Because I know. I mean, like, there's NSA Pulse, and every now and then I

print articles from there like, as scratch paper. Like, it sounds really dumb.
Like, now that I'm thinking about it, like, the things that I did were really dumb.
But those always go into the, uhm, the burn bin.

SAG: Okay. What kind of articles from Pulse do you pull out?
[barking]

RW: Uhm, usually reference material about, like,
Gd Vb, just making sure, like, so many references that I keep having to re-
look up-

SAG: [OV] Mm-hmm.

RW: -it'sjust-I'm very textile, so if it's just, like, right on my desk, Icanlookatit
instead of flipping through windows.

SAT: Mm-hmm.

RW: So that's probably fraud, waste, and abuse right there. [laughs]

SAG: Okay.

RW: [laughs}

SAT: We're not worried about fraud, waste, and abuse.

RW: [OV] Okay.

SAG: No.

RW: I use a lot of paper. Uhm, but nothing outside of, like, Iranian stuff or anything

else out of that, and never outside of the building.

SAG: Okay. Reality, what if I said that I have the information to suggest

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that you did print out stuff that was outside of that scope?

RW: Okay. I would have to try to remember.

SAG: Okay. What if, uh, I said that you printed out information related to, uh, reports
on a

SAT: Reality-uh-you know-we obviously know a lot more than-than what we're

telling you at this point. And I think you know a lot more than what you're telling
us at this point. I don't want you to go down the wrong road. I think you need
to-to stop and think about what you're saying and what you're doing. Uhm-
you know-!-I think it's a-an opportunity to maybe tell the truth. Because, uh,
telling a-telling a lie to an FBI agent is not going to be the right thing.

RW: Mm-hmm,

SAT: Okay? Uhm, you know-and again, we're here voluntarily. You're talking
voluntarily. I'm not asking you-forcing you to do anything.

RW: Mm-bmm.

SAT: But think-that's-that's what I'm asking you to do, is to think. So, think about
what he just asked.

RW: Mm-hmm.

SAT: And let, you know.

RW: WE There was one I printed out because I wanted to read it.

SAT: Hmm.

SAG: Which one was that? And-

RW: [OV] Mm.

SAG: -mind the-the sensitivities of the-

RW: [OV] Sensitivity.

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Recording Name: 170603_01.WA\

SAG: Can you remember what day you printed it out?
[pause]

RW: I might mess up the date, but late-late March, early A-first two weeks of April.

SAG: First two weeks of April?

SAT: And what was it?

RW: It was a-

[cough]

RW: -it was an NSA Pulse article about

RW: And yeah, I did-I did print that one out.

SAG: Okay. Uhm, why, uh, why did you print that one out?

RW: Uhm, I wanted to read it and I just-I-the way I downloaded it, it just was hard
for me to read and I wanted to just look at it because-it looked like a piece of
history.

SAG: Mm-hmm.

RW: You know? Uhm, so | wanted to have that on my desk for, like, a day.

SAG: Okay. Did you, uh, how did you find it?

RW: Uhm, so when you open up Pulse, it has the-

SAG: [clears throat]

RW: -uhm, there's a little window at the top right that says, uhm, top articles.

SAG: Mm-hmm.

RW: And sometimes J scan those. Uhm, I don't know if you saw the one about the

miniature ponies, but that one was, uh-

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File Number:

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Recording Name: 170603_01.WA'y

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RW:

I missed that one.

{laughs}

Yeah, it was number one for, like, a year, so-

[snorting noise]

-obviously I goto check thatnow to make sure any other gems, and then that
one was right there. And, you know, just-I saw on the news, and I was like, I
wanttoread this. And. Yeah.

Okay. And what did you do with the article?

Ikeptiton my desk for, like, threedays. Uhm, I'm goingtobehonest,I read,
like, half ofit. I don't-it was, like, the stupidest thing ever. And then I burn
bagged it in the box that's-has a little slat on it by the fridge.

Okay. Uhm, how about any other times?

Any other times?

Did you search for anything on the J any other times?

Uhm, that did spark my curiosity and so, like, 1 just kept tabs on reading those
articles. Unm, looking a, ub, he TID vcs
interesting to me.

[OV] Mm-hmm.

So I did read s-some of those.

Okay. Did you ever go searching for them? Ever go digging?

Uhm, nothing more than, like, a [laughs] a ten-minute detraction from work,
you know?

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SAG: [OV] Okay. What, uh, what were you-how would you do it?

RW: Uh, just type in the search box, f and then scroll.

SAG: Okay. All right. Did you print out any of those articles?

RW: Uhm, let me think. No. The-the only one was just the one that was, like,

fe

SAG: Okay.

SAG: Was it, uh, what was the-talking around it, What was the. And you're pretty
sure that it was late April, early March? Think about, uh, try to remember, like,
details in your personal life and-

RW: I know, I'm trying to-I remember that week, I got in a fight with the boyfriend

that week. Uhm, April. Let's see, March, April. [sighs] When did I break up
with him? [sighs] Maybe we started dating in March, so. Ithad to have been
sometime in April. Uhm. [noises] I'm justreally going blank on what week
that was. I'm trying to think what weekend-what the weekend was like after
that. I'm so sorry. Uhm--

SAG: [OV] No. It's okay.

RW: [OV] -I'm trying. Uhm. I mean, yeah, mid-April is, like, all I'm thinking.
SAT: [clears throat]

SAG: Okay. All right. What ifI told you that I know that you searched for and

printed out a document on the ninth of May?

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2-050
i se 1:17- 034-JRH-BKE Document 234 Filed 02/27/18 Page 52 of 122

e Nunaber: A T-21 3732 SECRETYMOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
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RW: Ninth of May. [pause] Let's see, the CrossFit competition was on the 12th.
Was it really that late? [pause] Uh, I guess I-I can't argue that. Uhm.

SAG: Okay.

RW: If you-if you know-I mean-obviously you know. Uhm-

SAG: [OV] Okay.

RW: I'm just-I-I can't imagine. [sighs] I guess we're already June already, so yeah.
It's been a really bad month for me, so.

SAT: This would have been three and a half, four weeks ago, roughly.

SAG: [OV] Mm-hmm.

RW: [OV] Yeah.
[noises]

SAG: Okay. Do you remember what you did to get to that article?

RW: Other than either seeing it on the front page or linking it from another. I'm
just.

SAG: Do you remember what search terms you might have put in?

RW: Probably EE (laughs) I'mnotvery sophisticated. Uhm.
Yeah.

SAG: Okay. So, you printed out the document-you printed out a document, uh,
intelligence report on-on this. You-you do recall that?

RW: Yes, I do remember now, yeah.

SAG: Okay. [sighs] What did you do with that document?

RW: Like I said, J-I kept it on my desk for three days because I just-I thought it was
interesting and I thought I would read it. And then J said no, and I need to not
leave it out on my desk, so I-

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File Number:

BR AT-2173732  secperyNeReRN UNCLASSIFIED//FOR OFFICIAL USE ONLY

Recording Name: 170603_01.WA*

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SAT:

RW:

[OV] Mm-hmm.

-put it in the burn bag.

You put it in the burn bag?

[OV] Yeah.

[OV] Okay, where's the burn bag?

Okay, so the burn bags are [sighs] in the break rooms and they're this little white
box with the slat, and it's one over from the fridge.

Okay.

In White Law.

So you just-you slide it in there and then-
[OV] You slide it in there, yeah.

And then it's taken care of?

Yeah.

Okay.

It's.

All right. Reality, are you sure that's what you did with it?
Yes.

You're positive?

Yes.

You didn't take it out of the building?

No.

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SAG: Okay. You didn't take it out of the building and give it to anybody else?

RW: No. |

SAG: You didn't send it?

RW: No.

SAG: You didn't send it to anyone?

RW: No.

SAG: Okay.

SAT: [sighs]

SAG: Reality, uh, can you guess how many people might have printed out that
document?

RW: No.

SAG: It's not many. That document has made it outside. Okay? Obviously,
because we're here.

RW: Obviously, yeah. Crap.

SAG: The most likely candidate, by far and away, is you. Now, I don't- [sigh]

~I don't think you are, you know, a big bad master spy, okay? I don't. I don't
think that. I think that-I've looked at the evidence [noises] and it's compelling.
Now, I'm not sure why you did it, and I'm curious as to that, but I think you
might've been angry over everything that's going on, politics-wise. Because you
can't turn on the-you can't turn on the TV without getting pissed off. Or at least

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I can't. And I think you might've made a mistake. Now, why I'm here and why I
want to talk to you, is to figure out the why behind this, okay? So, I ask you
again-did you take it out and send it?

RW: 1 didn't. I put it in the burn bag.

SAT: [sighs]

RW: I mean, I'm trying to deploy. I'm not trying to be a whistleblower. That's crazy.

SAG: Hmm. So how would you think that a document would end up getting out?

RW: I-I mean, there's-there-I mean, Llet's-let's be s-straight-there's little tono
security on documents. Nobody pats you down.

SAG: Mm-hmm.

RW: You know, and we talk about it al] the time because it's like, oh, I have to show

my food. Oh, "you eat so healthy," like, every day, you know? A-and people
about it at work. You've got a building full of geniuses, right? Like just. I guess
T'm nervous and talking, but no, I mean, the l-that's the last thing

I would've wanted to do with that. Especially with, you know, right now, trying to
get somewhere else, trying to increase my clearance.

SAG: Mm-hmm.

RW: You know? It was an article on J) and it was very sensitive and I
thought I would be cool if I had it on my desk for a couple days.

SAG: Okay. But you remember-you said you remember putting it in the burn-in the
burn bag? Sliding it in there.

RW: Yeah.

SAG: Okay.

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Recording Name: 170603_01.WA‘

RW: [OV] Folded in half. I mean, I remember it.

SAG: Folded in half?

RW: Yeah, uh, it's-it-because it didn't-yeah, I folded it in half.

SAG: [sighs] Okay, What if] tell you that that document, folded in half, made its way
outside of NSA?
[pause]

RW: Idon't-I don't know - that.

SAG: It made its way-

SAT: [clears throat]

SAG: -out in an envelope, post-marked Augusta, Georgia. See, things are starting to
get a little specific.

RW: Okay.

SAG: It made its way to an online news source that you subscribe to. Getting really

specific. So, I'm going to ask you again.

[pause]

SAG: What is very, very, very compelling. I'd like to know the reason, because I don't
think-I don't think you make it a habit out of this at all. At all. I really do. I
think you just messed up. Now, I'm not quite sure why you did it, and

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Recording Name: 170603_01.WA\

I'd like to hear from you on that, but w-the what and the how is-would you

agree, looks awfully bad?
RW: It looks really bad.
[pause] ‘
SAG: If you're angry about what's going on, if there's something that. Look, you've

had a good career. You have. If there's something that just pushed you over the
edge on this, now is the perfect time. This is a podium.

SAT: You know, like he said, I-I don't think we're coming in here to say you're some
big bad mastermind-

RW: All right.

SAT: -prolific spy kind of thing. I-I think what we both think is that maybe you made

amistake. Maybe you weren't thinking for a minute. Maybe you got angry, like
he said. I mean, that-that's-that's what I'm hoping. If that's-that's the case, then
that makes us feel a little better knowing that we don't havea-a real serious
problem here. You know, ub-uh that's something that concerns us, too, this isn't
an ongoing problem. But we need to figure it out. And if it was a mistake, let's

deal with it.
[pause]
UM: Is this-is this a room? Is that a room? [UT]
[background conversation]
SAG: So how did you get it out of the office?
RW: Folded in half in my pantyhose. ‘
SAG: Okay. [sighs] And what did you do with it?

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File Number:

GBBAT-2173732 — secepetNoOEORN UNCLASSIFIED//FOR OFFICIAL USE ONLY

Recording Name: 170603_01.WA‘

RW:

SAT:

RW:

SAT:

RW:

SAT:

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SAT:

RW:

SAT:

RW:

SAT:

RW:

SAG:

SAT:

Put it in an envelope and sent it to

Anybody specifically there?

[pause]

I don't think J put a name on it. I just put

Hadyou communicated with SE prior to you doing that? With -
No. I wasn't trying to-wasn't trying to be a Snowden or anything.

And that's what-I don't think you were, either. I really don't. And that's.

But, uh, I-I think you made a mistake. But I th-th-I don't think either one of us
think you're trying to be Snowden.

No, it was just that one document, because like you said, in hii
P|

Right. Mm.

[OV] The proof that-you know. And I guess it's just been hard at work
because. And I've-I've filed formal complaints about them having Fox news
on, youknow? Uh, justat least, forGod's sake, put A] Jazeeraon, oraslideshow
with people's pets. I've tried everything to get that changed.

[OV] That would probably be a good thing. Unfortunately, it doesn't matter side
you're watching, I think they're ali [laughing] pretty bad-

[OV] lL... Yeah.
-right now, but-
[OV] Just.

[OV] Uh.

-I think the pets may be the way to go.

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2-057
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 59 of 122

File Number: | |

AT-2173732  SEERET/NOFGRN UNCLASSIFIED//FOR OFFICIAL USE ONLY

Recording Name: 170603_01.WA‘

RW:

SAT:

RW:

SAT:

RW:

SAT:

RW:
SAT:
RW:

SAT:

SAG:

RW:

SAT:

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SAT:

SAG:

RW:

SAT:

RW:

[noises]

The pets would have been great. Uhm, but just having that every day, and then

 

[OV] Right.
Yeah.

Where did you mail it from?

The mailbox is on Bastonne [PH] Road.

Okay.

It's in a shopping center with a bank and an Earth Fare grocery store.
Okay. I know where you're talking about.

Uhm, intersection of Bastonne [PH] and Furys Ferry.

[OV] Furys Ferry. Okay.

Mm-hmm.

I can never say that, Furys Ferry.

And it was just a mailbox sitting out in the middle of the parking lot?
Metal box, yeah.

Okay.

[OV] Okay.

[OV] And, uhm, it was-

[OV] Do you remember what day that was?

[sighs] What day of the week was the ninth?

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2-058
Case 1:17,6,00034-JRH-BKE Document 234 Filed 02/27/18 Page 60 of 122

File Number: §AT-2173732 = sECRET/NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA‘

SAT: [sighs] Let's see, it's-

SAG: [OV] We'll check. Do you need some water or something?
[noise]

RW: I would like some water once I find out what day of the week it was.

SAG: Okay.

SAT: Let's see, I want to say it was. If 1 can figure out this crazy phone. I want to say
it was a Tuesday.

SAG: [coughs]

RW: Tuesday.

SAT: It was a Tuesday.

RW: Tuesday.

SAG: Is there something significant about-

SAT: [OV] Uh--

SAG: -the ninth in other ways?

RW: No. The ninth must have just been the first day I saw it. Uhm. [sighs]

SAT: So you.

RW: I might've-it-either the 1 1© oy the 12". 1£1 subbed yoga on the night of
the 11"), then my yogastudio is right there.

SAT: So it would've been Thursday or Friday?

RW: Thursday or Friday.

SAT: Okay. What yoga studio?

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. USAO-08164

2-059
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 61 of 122

File Number:

AT-2173732 = §ECRETYNOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY

Recording Name: 170603_01.WA\

RW:

SAT:

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SAT:

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RW:

SAG:

RW:

It's called Oh Yeah Yoga. Uhm-

[OV] Is it where Earth Fare is or is it somewhere else?

It's right across the street behind the CVS by the laundromat.
Okay. Okay. There's, like, some limos-

[OV] So-

[OV] -or something, isn't that, there?

[OV] Okay. Yeah.

[OV] Yeah.

Yeah.

So, you-you said you mailed it maybe Thursday or Friday?

Mm-hmm.

Okay. How did you know to, uh-uh, mail it to

 

Yes.

Okay. So you wanted-you wanted, uh, MY to be able to publish
this?

Yeah.

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USAO-08165

2-060
Case 1:17-
File Number:

034-JRH-BKE Document 234 Filed 02/27/18 Page 62 of 122
AT-2173732  SECRETWNORORN UNCLASSIFIED//FOR OFFICIAL USE ONLY

Recording Name: 170603_01.WA‘

SAT:

RW:

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SAT:

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SAT:

SAG:

RW:

SAT:

SAG:

SAG:

RW:

[pause]

Is that the only thing you've sent them?

Yeah.

Did you send it anywhere else?

No.

No? No other publications or anybody else that you've shown it to or given it to?
No.

Is there going to be anything here that we're going to be surprised to find?

No. I - [sighs] I never took the document out of my car.

Okay. Is there anything on your phone or your computer?

The phone might have a. I don't know if] deleted it, but I'm sure you guys can
see all of that anyway. It's going to have a screenshot of the address to -

a

Okay.

Okay.

You mentioned you want some water?

Yes.

Yeah, why don't we-

[OV] I'll make it. Uh-I'm just going to get somebody out here. Hey, can |
have somebody in here, please?

Uh, yeah.

Uh, do you want a bottle of water? What's-what's your preference?

Uhm.

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USAO-08166

2-061
Case 1:17-G¢.00034-JRH-BKE Document 234 Filed 02/27/18 Page 63 of 122

File Number: BAT-2173732 = sECRETWNOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603 _01.WA’*

SAG: Do you have a filter in the fridge, or do you just want tap water?

RW: Tap water. There's a glass or a mason jar by the sink.

SAG: Okay. Can I get one person to just stand there so I can [EA].
(background conversation]

UM: Do you guys [UI]. i don't think you'll fit in there anymore. She won't fit in there
anymore.

SAT: [laughs} She still under the bed?

UM: Huh?

SAT: [OV] Cat? Is the cat still under the bed?

UM: Oh, she's a big girl.

SAT: [laughs]

RW: Oh yeah. We're trying.

SAT: How old is she?

RW: [sighs] She's three years now. Uhm, she's actually on my lease as Queen Latifah.

SAT: [laughs]

RW: We're trying to get her down to, like, a Beyonce size ten.

SAT: [laughs]

RW: But girl likes to eat.

UM: [OV] Oh yeah.

RW: She likes carbs.

UM: She's gota little slim fit on her.

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2-062
Case 1:17-¢r-00034-JRH-BKE Document 234 Filed 02/27/18 Page 64 of 122

File Number:

AT-2173732 — SEGRET/NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY

Recording Name: 170603 01.WA‘

SAT:

RW:

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SAT:

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RW:

SAT:

RW:

SAT:

SAG:

SAT:

RW:

SAG:

RW:

That's right.

[sighs]

When she came out, I was like, whoa.

Yeah, she will snatch bread right out of my mouth, like--
[OV] Wow.

-girl, you don't need those.

[laughs]

Water.

Ah. Thanks,

So other than the screenshot on the phone, there shouldn't be anything else? And
there should be nothing on the laptop?

Nothing on the laptop. I do have a TOR browser.

Okay.

[OV] It's a-

[OV] Uhm-

[OV] Which probably looks badbutI-

What do you use-what do you use the TOR browser for? [clears throat]

Uhm, there was one day when I was interested in WikiLeaks and then I opened it
up once, I shouldn't have done. I was in between jobs, just had gotten out of the
Air Force-and, uhm, I opened it u-I was at a Starbucks. And it was just. I

guess I was really underwhelmed. There was just nothing there. [laughs]I was
like, oh-

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2-063
Case 1:17-@,00034-JRH-BKE Document 234 Filed 02/27/18 Page 65 of 122

File Nunnber fijaT2173732 SECRET/NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA‘%

SAG: [laughs]

RW: -I don'tknow how youcanmakeuse of this shit, butokay.

SAG: [laughs]

RW: Uhm, so yeah, that’s why I have a TOR browser on the laptop. I don't think I
used it again.

SAG: Okay.

RW: It was just more b-you hear so much about it.

SAT: Right.

RW: Icouldn't help it.

SAG: [OV] Oh yeah.

SAT: [OV] Most definitely.

RW: ev Like, soon as I was out of the Air Force was like, that's what I'm going to

o.

SAG: Yeah, it's-

RW: [laughs]

SAG: -it's am-it's amazing how many people-it's like, I got to go see. Um.

RW: {laughs] Yeah. Great.

SAG: [OV] The-your computer has a [noises] password on it. Uh, would you mind
giving us the password?

RW: Six seven eight, capital J-N-S-D-E-L.

SAG: Okay.
[pause]

SAT: [sighs]

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2-064
Case 1:17-g@.00034-JRH-BKE Document 234 Filed 02/27/18 Page 66 of 122

File Number: §BAT-2173732 = seCRETYNOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA’.

SAG: Have you had any contact with anyone from RY? Have you tried to
reach out?
RW: No.1. Yeah, itjust. [sighs] Li-like you said, I just, I-I saw the article and

was like, I don't understand why this isn't a thing. And it-I just--

SAT: [OV] Itmade you mad.

RW: It made me very mad, and-

SAT: [OV] Sure,

RW: ~it's right there. Uhm, and I don't care about. I-I just-I guess I didn't care
about, like, myselfat that point, and just. Yeah. [noises] I guess. Yeah, I
screwed uproyally.

SAG: Well, [sighs] [noises] that, uhm, like I said before, I don't-I don't see you-I
believe you when you say that you didn't take anything else. I do. I think you
made a mistake.

RW: Mm-hmm. Yeah. Uhm-

SAG: [OV] Has-have you ever-before you were here, when you were. Uhm.

Actually, this wasn't necessarily before you were here. It depends on your TDY.
Uh, wherever you. Like, where did you finish up in the Air Force? Like in

November of this past year.
RW: In November when I out-processed, I was up in Fort Meade.
SAG: Okay. Uhm. Did you ever have any-do anything with a thumb drive?
RW: Mmm. [sighs]
[background conversation]
RW: Thumb drive, [sighs]
SAG: Shortly before you left?
RW: Shortly before I left. [sighs] [pause] Yeah, I was curious to see what would

happen and the administrator thing popped up, and I was like, okay, whatever,
and then threw the dumb thumb drive away.

SAG: Okay, so you-you put a thumb drive into one of the computers?

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USAO-08170

2-065
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 67 of 122

File Number:

AT-2173732  SBCRETVNORORN UNCLASSIFIED//FOR OFFICIAL USE ONLY

Recording Name: 170603_01.WA\

RW:

SAG:

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SAG:

RW:

SAG:

RW:

Mm-hmm.

What was the classification on the computer?

It was Secret.

It was a Secret computer?

Yeah.

Okay. Uhm, w-.. You said you were curious. Why were you curious?

I guess I wanted to see how people were getting unclass pictures onto the high
side. Like, ! thought I would figure it out.

You-you guess or?

[laughs]

I mean--
Yeah.

You're equivocating on that. So-so. Because you were just about to leave, so
what's the point of-

[OV] I've-

-plugging a thumb drive in a computer? You see where I'm going with this?
Yeah. 1 just. Yeah, I figured if there was a day to try to figure that out, I
mean. Yeah. But.

Did you put anything onto the thumb drive?

No.

Did you plan on putting anything into the thumb drive?

No. I mean, if I was really lazy, probably my resume, which had just

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USAO-08171

2-066
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 68 of 122

File Number:

WMBAT-2173732  spcreryNosoRN UNCLASSIFIED//FOR OFFICIAL USE ONLY

Recording Name: 170603_01.WA\

SAG:

SAT:

RW:

SAT:

RW:

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SAG:

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RW:

SAG:

RW:

SAG:

RW:

been approved, but. No.

Okay.

. Sootherthan this-this onedocument, there wasnothing else, eitherhereor

there-
No.

-that you accessed, tock out, put on a thumb drive, printed and mailed any of
that?

No.
No? Okay.

Okay. [coughs] Uhm, in regards to the document that you did put out, when you
did you realize that-the technical capabilities in that article?

Sources and methods.

Sources and methods are valuable to adversaries.

Yeah.

Did you know that before you printed it off, as you were taking it out?
Yes.

Okay. Uhm, did you know that if that got out, that those sources and methods
could be compromised?

If they haven't been already, then yes.

Okay. W-with that in mind, why did you make the decision to send it anyway?

[sighs] Thad figured that, um,

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USAO0-08172

2-067
Case 1:17-cg,00034-JRH-BKE Document 234 Filed 02/27/18 Page 69 of 122

File Number: BAT-2173732 =sECRET/NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA‘%

that it didn't matter anyway. Uhm, honestly, uh, I just figured that whatever
we were using had already been compromised, and that this report was just going
to be like a-one drop in the bucket.

SAG: Now, did you know that that JJ in that report-did you know that that had
been compromised for a fact?

RW: No, I wasn't smart enough to check that out.

SAG: Okay. And [sighs] you're-you are aware that sending-that does
nothave, uh, authorized access to classified information?

RW: I am aware of that.

SAG: And you were aware of that at the time that you sent it?

RW: I was aware.

SAG: Okay.
[pause]

SAG: [sighs] Okay. Is there anything else that you want to tell me about? Say? Talk
about why?
[pause]

RW: No, it was just. Yeah, just that-that day-that week, it was just too much and

just sit back and watch it and think, why do Ihave this job ifT'm just going to sit
backand behelpless and, youknow, just-it was just. [noises] Oops, sorry.
Uhm, yeab. I just thought that that was the final straw. [IA]

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USAO-08173

2-068
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 70 of 122

File Number:

AT-2173732 — ceceeryNoroRN UNCLASSIFIED//FOR OFFICIAL USE ONLY

Recording Name: 170603_01.WA’

SAG:

SAT:

SAG:

RW:

SAG:

RW:

SAG:

RW:

SAT:

RW:

SAG:

[OV] Was there something that-that just kind of [fingers
snapping] did it?

[cough]

Because you don't seem the type to do this. I-] believe it. I want to believe it.

I-I'm-I'm not. I-I'm not. You know, J-I want-I want to go out with our Special
Forces. That's why I got out of the Air Force. ] mean, that's why I'm here in
Augusta. | wanted my clearance back so I could get a deployment, and it was just
at a time when I wasn't applying for deployments. I had, you know, seven, eight
months left of ajob that didn't mean anything to me because it's Iran, and I'm a
Pashto linguist. Like, what am I doing translating Farsi? Itjust-itjust - I felt
really hopeless and, uhm, seeing that infonnation that had been contested back
and forth back and forth in the public domain for so long, trying to figure out, like,
with everything else that keeps getting released and keeps getting
leakedwhy isn't this gettingwhy isn't this out there? Why can't this be
ublic?

   

Okay. Were you surprised to see us today?

Yeah. Actually, I thought that, [laughs] uh, you were peoplecoming to ask
about the house, because it's still for lease online. Uh-

[OV] Because you did not seem surprised when we pulled up. [laughs]

Oh, God-well, J-I have a resting bitch face, so I was just like, maybe they 're
going to turn around.

[laughs]

And then FBI. I was just like, what is going on, you know? And you showed me
your badge right up, and, uhm, I submitted a security packet yesterday, uh, for my
clearance on E-QIP. So, uh, that's what I thought it was for. I'm like, why are you
guys going to question me for my own clearance? But...

Okay.

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USAO-08174

2-069
Case 1:17-G@,00034-JRH-BKE Document 234 Filed 02/27/18 Page 71 of 122

File Number ipa 123173732 SECRET/NOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA’,

 

RW: Yeah.

SAG: [sighs] So.

RW: [OV] Guess that's not going to happen.

SAG: [sighs] Well. [sighs]

SAT: Anything else you can think of? Okay.

SAG: Okay. Uhm, what we have to do is we have to do the search.

RW: Of course.

SAG: Uhm, now you said that. [coughs] I'm sorry. I have a sinus infection, so I
sound-

RW: [OV] It's okay.

SAG: -I'm-so I sound awful.

RW: [OV] This is the best room to be in with it.
[noises]

i Te EES:

RW: Yes.

SAG: [OV] Okay.

RW: [OV] If it's there.

SAG: Do you remember the site from memory?

RW: Uhm, it's just the- J and if you go, scroll down, at the bottom-

uhm-contact. It-it's not as obvious as you think. [noise

 

SAG: [OV] Mm-hm.

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USAO-08175

2-070
Case 1:17-¢r-00034-JRH-BKE Document 234 Filed 02/27/18 Page 72 of 122

File Number:

AT-2173732  SECRETYNOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY

Recording Name: 170603_01.WA’, .

RW:

SAG:

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SAT:

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SAG:

RW:

SAG:

fs because it was closer.

How long did it take you to find it?

Uhm, uh-uh, probably like three minutes of scrolling, which probably felt like
an eternity sitting in my car.

Mm-hmm.

Okay.

‘Yeah.

You said that the document stayed in your car-

Yes.

-whole time? Okay. Did you have a-a-where did you get the envelope?

Box of envelopes is, uhm, in the backseat of the car, behind the driver's seat. I
just, uhm, had a bunch of forms I needed to mail out last December, so, uhm,
they'd been sitting back there since December.

Okay. And the stamps?

Stamps. There might be one or two left, but [keep my stamps in my glove box,
in case I need to mail things out, like bills and stuff.

Okay. In your glove box?

In my glove box, yes.

Okay. [sighs] All right. Trying to think if I've got anything else. Uhm-
The-the search-the guys will continue the search. Uh, they'll search the vehicle
and the house, and, uh, ubm, and the photograph-they'll photograph everything.
Ubm, and, uh, you, uh, the search team leader is going to sit down with you and
go through things that have been seized. Uhm, ub, your passport. Where is that?
My passport is-it is either on the trunk in front of the TV or on-in the center
part of the desk, or in the closet in a camouflage backpack in the top front
compartment.

Okay.

SECRETANOGFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
USAO-08176

2-071
Case 1:17-cqn
File Number:

034-JRH-BKE Document 234 Filed 02/27/18 Page 73 of 122
AT-2173732 = SECRETWNORORN UNCLASSIFIED//FOR OFFICIAL USE ONLY

Recording Name: 170603 _01.WA‘%

SAT:

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SAG:

Belize. RW:

SAG:

RW:

SAG:

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SAG:
RW:
SAG:
that? RW:
SAG:
RW:

SAG:

RW:

SAG:

Yeah.

Sorry.

[OV] Reason-

[OV] I OCD-I just [UI] these things.

[OV] Okay. Reason-reason I ask is that, uh, you went to

Belize.

Did you meet with anybody in Belize?

No. I stayed at a resort. Uhm, a family of four. Uhm, if you have my phone
or my computer, you'll see the emails back and forth with the family. And, uhm,
they picked me up, took me to the resort and then took me back.

Okay. Uhm, did you include anything in the envelope that you sent tof

[background conversation]

Okay. So, did you include any notes or anything like
No.

Okay. Any identifiers?

No.

Did you-mm-ps-put in anything that would, uh, give them a way to
contact you or that you were traveling to Belize?

Absolutely not, no.

Okay. Allright. So. [sighs]

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USAO-08177

2-072
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 74 of 122

File Number: | |

AT-2173732 = SECRETWNOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY

Recording Name: 170603_01.WA‘

SAG:

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SAG:

SAT:

[Ul]

[background conversation]

Do youhave any questions forme?

So many. Uhm.

Mm-hmm?

This-this sounds really bad. Am I going to jail tonight?

[Ul]

I don't know the answer to that yet.

Okay.

What was your question? Sorry.

[OV] If she's going to jail tonight.

Ob.

Said J don't know the answer to that-

[OV] Okay. Of-

-quite yet.

[OV] -course the search is going on. Uhm, in any case of that, I do not have
memorized, uhm, the woman-her name is Cathy-she works at the Augusta
Humane Society.

Okay.

Uhm, she can come and pick up the dog in the case that I, uhm, uhm, am not
going to be here tonight.

Yeah. Well, let's don't-
[OV] Okay.

Yeah.

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USAO-08178

2-073
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 75 of 122

File Number:

MMB AT-2173732 § seceetmoroRN UNCLASSIFIED//FOR OFFICIAL USE ONLY

Recording Name: 170603_01.WA‘

RW:

SAT:

SAG:

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SAG:

RW:

SAG:

RW:

[OV] You know, and that's-

[OV] Let's don't get the cart before the horse right now.
(laughs)

Okay.

[OV] Okay?

[OV] That's-that is my only concern-

[OV] I understand, i-it-

[OV] -is getting her-

[noises]

[OV] Yeah.

-and then maybe one more phone call to get the cat covered.
Weill figure that out.

[OV] Well-

[OV] iif it comes to that, we'll-we'll-

[OV] -if-if that.

[OV] -figure that out.

[OV] And I don't know the answer to that yet. And I'm going to-
[OV] Okay.

-J'll-we'll-we'll-we'll cross that bridge when we get to it.
Okay.

So, uh, [sighs] what else?

Well, my green NSA contractor badge is in the front seat of the car where I left it

yesterday after work. Did not bring it into the house because I was lazy. Uhm, I
guess I'm not going back to work, uh, on Monday.

SECRETHYNOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
USAO-08179

2-074
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 76 of 122

File Number:

AT-2173732  SECRETYNOEORN UNCLASSIFIED//FOR OFFICIAL USE ONLY

Recording Name: 170603_01.WA‘

SAG:

RW:

SAG:

RW:

SAG:

RW:

SAT:

SAG:

RW:

SAG:

RW:

SAT:

RW:

SAT:

RW:

SAT:

SAG:

SAT:

RW:

I don't have anything to do with that.

[sighs] Okay. .

Uhm, a lot of that might, you know-we'll-we'll figure that out, so.

[OV] Yeah. Okay. So.

Is there anything at the-at your desk at work that I should be worried about?
I have an Anderson Cooper photo that is signed. It's not legit. Uhm.
[laughs]

[laughs]

It's-it-it-he's quite good looking so that is something that you must contend
with.

The m-the-the-the man cuts a figure, what can you say?

[barking]

Yeah. Uhm, no. However, on my keychain, uhm, I can give you the key to my
locker. ] use the locker directly to the left side of the desk, only the top portion,
and it is locked. [noise] Uhm, if that is where you are searching, there's a
grapefruit in there.

There's nothing that shouldn't be-like that we would concerned about?

Oh, no. Classified documents? No.

[OV] Yeah, I'm not-

[OV] There shouldn't be any reports in there.

[OV] -I'm not worried about a grapefruit or a picture of-

No.

-Anderson Cooper.

Okay. [laughs] Uhm, yeah, other than that, there's just a bunch of recycling.

SECRETHNOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY

USAO-08180

2-075
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 77 of 122

File Number:

AT-2173732  §SECRETYNOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY

Recording Name: 170603_01.WA\

SAT:

RW:

SAT:

SAG:

RW:

SAT:

SAG:

SAT:

RW:

SAT:

SAG:

RW:

SAT:

RW:

SAG:

SAT:

RW:

SAT:

Uhm-

Okay.

-and a folder of in-processing documents.

Okay.

Okay. [coughs] Uh, what else you got for me? What other questions?

[sighs] Uhm. [pause] I mean, just I told you that I sent a report, so. Yeah. And

I feel like you're-if] ask you, like, what's going to happen to me, you're going to
say thatyoudon'tknowatthis point, so that'skindofmy onlyconcern.And my

ability to keep these two animalsalive, uhm.

We're going to take - If-if-if it-if it comes to
that-

[laughs]

-I promise you-

Okay.

[OV] Uh, everybody in this house will take care.

[laughs] [OV] We're-we're not going to do the-

Yeah.

Uh, we're not going to leave these animals, I promise you.

[OV] Okay.

[OV] No.

And it is-we truly don't know at this point. Uh-uh, youknow, he's going to
have to go talk to some people. We're going to have to make some phone
calls.

Mim-hmm.

And we'll go from there. Uh-uh, I don't know that it's really our decision at this
point. ‘

SEGRETHNOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY

USAO-08181

2-076
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 78 of 122

File Number: MJAT-2173732 — gecRETWNOFORN UNCLASSIFIED//FOR OFFICIAL USE ONLY
Recording Name: 170603_01.WA‘

SAG: It-
RW: {OV} Yeah.
SAT: [OV] Uhm-
SAG: [OV] -and it's not. It’s not.
SAT: But.
SAG: [sniffs]
RW: Yeah. All I'm saying is I-I know, uhm, what I did, and so. At that point, I'm
not thinking about myself anymore, so.
SAT: ' [OV] Right. Well, why don't we, uh, start making some phone calls.
SAG: Yeah. [sighs]
SAT: So. Give you a break. Ifyou want some more water or something.
RW: I would love to use the restroom. How is that going to work?
SAT: [OV] Okay.
SAG: [OV] Oh. Yeah.
SAT: [OV] Let's, uh, let me s--let's see-
SAG: [OV] Let's-
SAT: [OV]-uh-where weare, ifwecan-
SAG: [OV] Here, let me-
SAT: -make that happen.
[noises]
SAG: [sighs]
[background conversation]
SAG: We just got to make sure that they're done, out of the bathroom, so we can give
you privacy.
75

SECRET/NOFORN UNCLASSIFIED//FOUO

USAO-08182

2-077
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 79 of 122

SECRETHNOFORN UNCLASSIFIED//FOUO

File Number: I-AT-2173732
Recording Name: 170603_01.WAV

SAT:

SAG:

RW:

SAT:

SAG:

SAT:

SAG:

RW:

UM:

RW:

SAG:

SAG:

Hey, I'll stay in the bedroom. She can use the restroom.
Okay. There's nothing in the, uh, in the restroom as far as weapons?
There's a nail clipper in the orange bag.

Okay.

Okay.

Ithink we can, uh-

I think that's okay.

[laughs]

Okay.

[noises]

They taught us how to deal with those in the Academy when we were.
And we'll go stand here to the [UJ].

[Ov] [U

Yes. Uhm [IA].

You turn it off?

It's still recording. Well.

[UI] two [UI].

Okay.

[noises]

The ammo [UJ] right next to the [UT].

[noises]

[IA background conversation]

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SECRET/NOFORN UNCLASSIFIED//FOUO

USAO-08 183

2-078
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File Number: -AT-2173732

SECRET/NOFORN UNCLASSIFIED//FOUO

Recording Name: 170603_01.WAV

UM:

SAG:

RW:

SAG:

RW:

SAG:

SAT:

SAG:

SAT:

SAG:

SAG:

[noises]

[pause]

Rock River [PH]. [LA]

[noises]

[background conversation]
Did they take a picture of that?
[noises]

Okay. So for one, uhm, we'll, uh, wehaveap-uh, wouldyouliketo sit
down somewhere?

I'm fine.

You're fine?

Yeah.

Okay. Uhm. Allright. Uh, obviously been recording. I'm going to, uh-uh-ub.
What's up?

Going to end the recording.

I think so.

[OV] And stop the interview.

I think so.

So this is at, uh, five-let's call it 5:17 PM, ceasing recording on June third.

[end of recording]

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SECRET/ANOFORN UNCLASSIFIED//FOUO

USAO-08 184

2-079
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SECRETHNOFORN UNCLASSIFIED//FOUO

File Number: AT-2173732
Recording Name: 170603_01.WAV

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SECRETANOFORN UNCLASSIFIED//FOUO

USAO-08185

2-080
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Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 8

 

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USAO-08084
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 84 of 122

 

GOVERNMENT'S EXHIBIT =|.

NO. bet

CASE NO. 1:17-CR-034

 

 

UNITED STATES OF AMERICA
VS,
REALITY LEIGH WINNER

MARKED FOR IDENTIFICATION

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SCOTT L. POFF
CLERK, UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA -

 

 

 

 

 
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Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 87 of 122

 

 

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GOVERNMENT'S EXHIBIT
NO.

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CASE NO. 1:17-CR-034

 

 

UNITED STATES OF AMERICA
. vs.
REALITY LEIGH WINNER

MARKED FOR IDENTIFICATION

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SCOTT L. POFF
CLERK, UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

 

 

 
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 101 of 122

Partial Transcript 10.62.0.21-70872fb00a3e0015751f265a4ba0a591 booking.wav

3 June 2017- 20:36:23-20:41:26
361-522-7861

[Time stamp: 1:43-3:36]

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

And | do believe that | mean when | spoke to the FBI, they said, you know, don’t
act like you're never coming back to your house again, um. But | am kinda
almost preparing for that —

Oh God.

Um, so, um, obviously | don’t expect you guys to drop everything and go do
anything for Mina, but, the shelter will have her and Kathy knows, and we can
surrender her or you can come pick her up.

Ok.

And maybe see, we'll just see what’s going on Monday, but there are
perishables in the fridge, and | might need someone to help me out with my
house.

Ok alright. So should we wait for Monday or should we, um, just, should we plan
on - on heading up?

Kathy will contact you and you should make the decision regarding Mina.
Ok, |, well, of course I'll take her.

Ok yeah so she will be, uh, she'll just need to be picked up probably when you
guys come out to Augusta. But | know —

Ok.

Will help out and he can tell Kathy as much as she needs. But | had one phone
call to make and | kinda had to call her because | had a bunch of FBI guys
worrying about my dog. Like they were freaking out about my dog.

Aww (sigh) that was sweet, that was sweet yeah. Um, so, ok, so, um, so—
Are you ok?

Um, I’m a little startled, I’m a little scared for you. I’m scared. Um, but so should
we just make plans on on heading up there and then, um, is it well -

Yeah.
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 102 of 122

Transcript Phone Call 10.62.0.21-70872fb00a3e0015751f265a4ba0a591 booking.wav

AUTOMATED VOICE:
WINNER:
AUTOMATED VOICE:

GARY DAVIS:
WINNER:
GARY DAVIS:
WINNER:
GARY DAVIS:
WINNER:
GARY DAVIS:
WINNER:
GARY DAVIS:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

3 June 2017- 20:36:23-20:41:26
361-522-7861
Hello, this is a free call from —
Reality Winner.

An inmate at Lincoln County jail. This call is subject to recording and monitoring,
and your location information may be collected and used by corrections and law
enforcement personnel. To accept this free call, press 1, to refuse this free call
press 2. If you would like to. Thank you for using Securus. You may start the
conversation now.

Hello.

Hi Gary.

Hey how ya doing ~

Mom’s phone was restricted.
You what?

Mom’s phone blocked the call,
Ahh ok. You want to talk to her?
Yes please, but | love you too.

I love you too. Here you go.

Hey sweetie. What’s up?

Hey how you doing?

Ok. What’s going on?

Um, I’m wearing orange (laugh).
Oh, is it pretty though? (Laugh).
I look pretty good, yeah it’s a—
I’m sure you do, I’m sure you do. Are you gonna be ok?

Um, I’m not sure, but um | have a hearing on Monday. Everything beyond that
is, um, yeah.

Yeah, but what do you think?

I’m thinking with, no.

Page 1 of 4

6-1-1
BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 103 of 122

No. (Sigh}. What can we do?

So Kathy is coming up, she’s out of town, so she won’t be able to see the dog
until tomorrow night, but the dog and the cat are in the house. They’re —

Mmhmm.
- under the welcome mat —
Mmhmm ok.

And | do believe that | mean when | spoke to the FBI, they said, you know, don’t
act like you’re never coming back to your house again, um. But | am kinda
almost preparing for that —

Oh God.

Um, so, um, obviously | don’t expect you guys to drop everything and go do
anything for Mina, but, the shelter will have her and Kathy knows, and we can
surrender her or you can come pick her up.

Ok.

And maybe see, we'll just see what's going on Monday, but there are
perishables in the fridge, and | might need someone to help me out with my
house.

Ok alright. So should we wait for Monday or should we, um, just, should we plan
on - on heading up?

Kathy will contact you and you should make the decision regarding Mina.
Ok, 1, well, of course il take her.

Ok yeah so she will be, uh, she'll just need to be picked up probably when you
guys come out to Augusta. But | know —

Ok.

Will help out and he can tell Kathy as much as she needs. But | had one phone
call to make and | kinda had to call her because | had a bunch of FB! guys
worrying about my dog. Like they were freaking out about my dog.

Aww (sigh) that was sweet, that was sweet yeah. Um, so, ok, so, um, so -
Are you ok?

Um, I’ma little startled, I’m a little scared for you. I’m scared. Um, but so should
we just make plans on on heading up there and then, um, is it well -

Yeah.

Is it—

Page 2 of 4

6-1-1-002
WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

AUTOMATED VOICE:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 104 of 122

(Ui)...
To do that. Ok.

You obviously have the house to stay in, they've already cleared the house with
the warrant.

Ok alright. Ok alright will do.
Yeah I’m sorry to inconvenience you in that way.

It’s alright, 1 mean | just wanted, yeah, | wanted to know if you, yeah. But you’re,
ch my god, you’re my baby baby.

t know, Mom...(ui}...not best case scenario, but one case scenario is, um, they'll
post bail and—

Uh huh.

You’re gonna have a live in chef while | pay that off.
Oh I would love that.

You have one minute left.

We have one minute left ok. But, yeah no I'd love that. Will you know that on
Monday? if you're able to post bail and?

Probably yeah, and we'll probably do the plea deal.
Oh ok.

I'll be assigned an attorney and talk it over. But, um, we'll know more Monday
afternoon.

Ok, alright. Ok Ok. So probably what we'll do is, um, is figure out a way to get
out of here, out of here tomorrow afternoon and drive straight through and be
there Monday. And then, you can touch base with us and we'll figure out about
Mina and —

Ok.

Whatever we need to do about the house, ok.

Yeah keep those two alive and yeah we'll figure it out from there.
Alright, oh my gosh. Ok. | wish | could be there with you.

No you don’t.

| just, no, but is it ok? Are you ok? Are you?

'mok. I'll be alright.

Ok um that’s —

Page 3 of 4

6-1-1-003
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 105 of 122

AUTOMATED VOICE: — Thank you for using Securus. Goodbye.
END PHONE CALL.

Page 4 of 4

6-1-1-004
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Partial Transcript Phone Call 10.66.0.21-752ac5840a4200152ea446544f5f9f77 winner3.wav
4 june 2017 — 18:16:03-18:31:03
361-522-9949
{Time stamp 7:53-8:38]

WINNER: Mickey’s getting picked up tonight from the shelter. | told Ms. Kathy that I’m not
sure what my parents are going to be able to do, and the FBI only gave me five
minutes to make phone calls -

BRITTY: Isee.

WINNER: So | called her first, she’s picking up Mina, and she has mom’s phone number so
as soon as mom and Gary get to Georgia they’re going to go pick up Mina at
least, and Mickey will stay back at the shelter, but they’re safe and in the house.

BRITTY: Ok.

WINNER: Everybody was really worried about them when they searched my house. Bunch
of dog people.

BRITTY: Bunch of dog people yeah.

6-2
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 107 of 122

Transcript Phone Call 10.66.0.21-752ac5840a4200152ea446544f5f9f77 winner3.wav

AUTOMATED VOICE:

(Music).

AUTOMATED VOICE:

(Music).

AUTOMATED VOICE:

(Music).

AUTOMATED VOICE:

(Music).

AUTOMATED VOICE:

(Music).

AUTOMATED VOICE:

(Music).

AUTOMATED VOICE:

(Music).

AUTOMATED VOICE:

(Music).

AUTOMATED VOICE:
AUTOMATED VOICE:

4 June 2017 — 18:16:03-18:31:03

361-522-9949

Hello please hold while we attempt to connect your call. We are attempting to
receive acceptance information from your called party. This may take up to two
minutes. Please continue to hold.

We are attempting to receive acceptance information from your called party.
This may take up to two minutes. Please continue to hold.

We are attempting to receive acceptance information from your called party.
This may take up to two minutes. Please continue to hold.

We are attempting to receive acceptance information from your called party.
This may take up to two minutes. Please continue to hold.

We are attempting to receive acceptance information from your called party.
This may take up to two minutes. Please continue to hold.

We are attempting to receive acceptance information from your called party.
This may take up to two minutes. Please continue to hold.

We are attempting to receive acceptance information from your called party.
This may take up to two minutes. Please continue to hold.

We are attempting to receive acceptance information from your called party.
This may take up to two minutes. Please continue to hold.

We are attempting to receive acceptance information from your called party —

Telecommunications services provided by Securus Technologies. For more
information on products and services visit www.securustech.net. Calls are

Page 1 of 7

6-2-1
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 108 of 122

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

subject to recording and may be monitored. You may start your conversation
now.

Britty.
What’s up?

Oh my god I’m so glad | got through to you. I’m sorry it sounds like a
telemarketer.

Yeah | - | can’t believe that | didn’t notice that the same number was calling me
and leaving voicemails. And | was like that’s so weird. 1 mean | get a lot of
marketing calls like all throughout the week and stuff. But it was persistent and I
just feel so bad that | didn’t pick up.

Oh boy Britty, | screwed up.

Well it’s gonna be ok.

| don’t know if I’m getting out of this one.

You don’t know if what?

1 don’t think I’m getting out of this.

Well mom told me that your hearing is tomorrow?

Umm they're just going to decide if | can go out on bail -
Oh ok.

During the trial.

Ok.

I don’t, | I’m trying to rack my brain, I’ve signed the papers so many times, |
don’t know what my minimum sentence is.

Yeah, | mean | don’t, probably not wise to tell me any details about what they
think you did but, um, | don’t know, uh, does it have to do with the, um,
background check stuff?

No.
Oh, it’s not because you put the wrong birthday for Chris?

No. | leaked a document. And they were able to trace it back to me. And it’s kind
of an important one.

Ok.

So, there’s a minimum sentence. | feel like after having been in this holding cell
for like a day, | don’t know (laugh) —

Page 2 of 7

6-2-1-002
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BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

You survived basic training —
Yeah.
it’s kinda the same thing isn’t it?

No basic training is like college, like you’re getting ready for something. This, I
mean, and the food, and | don’t I just I can’t even get over like the little things,
like | was supposed to teach yoga today (laugh), | was supposed to be on a date
last night before | got arrested. Like things like that, | have a power lifting
competition at the end of this month. Like that’s all | can think about Britty, !
know it’s stupid but that’s my whole life, that’s all | had.

It’s not stupid -
And-

In fact, Chris, Chris was worried about you. Chris was like what’s she gonna eat.
1 was like the only thing she eats is kale, so -

| know | feel absolutely terrible, there’s so much white bread here, | - |—
(Laugh) I’m sorry I’m laughing at you

] was wondering if you could do me a favor -

Yeah what do you need?

Um, one of my Facebook friends, if you wanna write down the name, | just need
you to get him a message because he can get me a sub for my cycling class

(Laugh) of course thinking about your class. Ok let me get a pen. Um, ok I’m
ready

Ok his name is Lane, L-a-n-e. McKlenden.
Ok

Um, He’s one of my Facebook friends, so if you could look through those um, he
works at SEC or um Ultimate Ride, and if you could just like message him and
say, that um I’m in an emergency situation, I’m ok but I don’t have any kind of
phone access, and | wont be in all week. And | need a sub for my Wednesday
cycling classes, and to take my name off the Saturday competition roaster. And
then, maybe at the very end put, and tell Dennis | won’t be in all week, cause |
don’t know Dennis’ phone number

Ok

J really appreciate it. | know it sounds dumb, but that’s like, that’s what kept me
up at night.

Page 3 of 7

6-2-1-003
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 110 of 122

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

It’s not dumb, you have an obligation you feel like it’s really important for you to
do these things. What about um what about Mickey?

Mickey’s getting picked up tonight from the shelter. | told Ms. Kathy that I’m not
sure what my parents are going to be able to do, and the FBI only gave me five
minutes to make phone calls -

I see.

So | called her first, she’s picking up Mina, and she has mom’s phone number so
as soon as mom and Gary get to Georgia they're going to go pick up Mina at
least, and Mickey will stay back at the shelter, but they're safe and in the house.

Ok.

Everybody was really worried about them when they searched my house. Bunch
of dog people.

Bunch of dog people yeah.

I really miss—

Has — Miss what?

Miss Dennis.

Yeah.

| finally found something you know.
Were you going to date him?

1 mean yeah, f mean [ was gonna see last night if it was anything like that. | just |
don’t know, I just miss having someone to hang out with at the gym all day, and
try to keep up with them you know. Like—

Yeah it’s always been, yeah.

| don’t know, it’s stupid, ! mean that’s like the only thing that’s been on my
mind. That’s all I’m thinking about right now, like Monday morning is going to
come by and I’m not going to be at the gym. And then, you know, Tuesday, I’m
going to have to worry about what's gonna happen with my life. And of course,
Britty, the one time in my life | watched Twilight, I’m in jail, we watched it today.

I don’t know if you failed. | don’t know | don’t know what what it’s about, |
think, | think it’s still going to be ok.

I just | don’t want to spend years in prison. | just —
Yeah nobody does.

! don’t care, if if | get bail tomorrow | don’t care what the price is, um, ’'m gonna
find a way to make bail happen. Even if it gets me two weeks of freedom. | just

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6-2-1-004
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 111 of 122

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

(Pause).

WINNER:

wish it was | wish it would be something simple, like ten years of probation or
go back live with your parents. I wish there was a reset button.

Yeah.

What’s the girl’s name on Orange is the New Black? That's like all Bible-y and’s
like...(ui)...2 Do you know who I’m talking about?

What did you say?

The girl’s from Orange Is the New Black who's all Bible-y, like Christian?
Oh yeah, her name, her nickname was Pennsytucky I think.

There, ok think of that girl as like my my BFF here in jail.

(Laugh).

...(ui)...50 | guess it could be worse. And | don’t get to eat peanut butter
sandwiches when I’m out of jail, and that’s all | can eat here because that’s all
they have that’s Kosher, so | guess it could be worse. | could be like physically
uncomfortable and miserable and stuff like that. But we just don’t get to go
outside, so J just feel really bad.

Yeah that sucks.

But I’m going to use up as much of this phone call, cause | think it’s like a flat
rate, so I’m really sorry if it charges you money.

No it’s fine.

Vll probably call Mom and Gary later. They're going to know more about my
hearing tomorrow than | will because they're going to talk to the FBI directly.

Oh really? Ok.

Yeah Ill just be here waiting. But, I’m sorry.

For what?

| don’t know, just. It was a stupid decision.

Well everybody makes stupid decisions it’s just...

Yeah. | didn’t think, | did not even think of the consequences for like a second.
(Sigh). | don’t know what to do.

You're going to get through this.

| don’t, (sigh) this sounds really dumb, but | don’t know what I’m going to get
through this for, Like what’s -

Page 5 of 7

6-2-1-005
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 112 of 122

BRITTY:

WINNER:

BRITTY:
(Pause).

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

What do you mean?
What's going to be on the other side?

The rest of your life.

Yeah || just don’t see it that way. Like | don’t want the rest of my life if if it’s not
what | have, and | feel like I'm being a diva, like there are freakin’ Syrian
refugees that have nothing and they still go from one day to the next —

Yeah but, it’s, well depending on what happens it could be a pretty huge
change, but there is hope on the other side. You get through it. It changes you
maybe as a person, but, um, t don’t know. I’m really naive and | don’t really
know anything about anything but, um, | think it’s still going to be ok.

Yeah I keep telling myself to act more like | think | did something wrong (laugh).
What?

Like pretend like | really feel like in my heart regret what { did, and that | did
something wrong. Not because I’m in jail right now but because what | did was
inherently wrong.

Yeah.

Yeah | mean that was the thing, like when the FBI was interrogating me, they
were just like, “look we have everything we’re just, we just want to know why.”
You know what | mean? They didn’t care about anything else, they were just
straight up curious to know why.

Well maybe you're right, don’t discount the effect of being pretty and white and
blonde. I’m kidding.

No |, I’m definitely playing that card. I’m going to braid my hair, t'm going to
look cute like -—

(Laugh).

I'm going to have a small voice, I’m going to, you know —
Cry a lot.

Yeah.

1 don’t know, | don’t know if that helps or not actually.

You know and obviously there’s no possibility of a repeat. And, uh, the
investigation is going to take a while, they took a lot of stuff, um, Gary is really
mad because they took my weapons, so basically tomorrow best case scenario
is | get to walk out with a bracelet on my ankle.

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6-2-1-006
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 113 of 122

AUTOMATED VOICE:

WINNER:
BRITTY:
WINNER:
BRITTY:
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BRITTY:
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BRITTY:
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WINNER:
BRITTY:
WINNER:
BRITTY:

WINNER:

AUTOMATED VOICE:

END PHONE CALL.

You have one minute remaining on your call. You have one minute left.
But anyway —

Woah.

if if you could just get that message to Lane.

Yeah 1 will.

Alright | really appreciate it Britty.

Yeah of course. I’m just sorry that | didn’t answer it yesterday —

It’s alright you had all day —

I’m the worst duck brother —

Oh no duck brother.

(Laugh). Hey | love you.

| love you too.

Keep your chin up you're going to get through this it’s going to be ok.
J will. One more name, Don Z., last name starts with a Z—

Ok.

Just tell him that I’m probably not going to talk to him again, but I’m, um, doing
pushups like crazy and I’m gonna miss him.

Ck will do.
Just tell him I’m not going to see him again.

Ok.

* Thanks, I’m I’m sorry, thanks so much.

it’s ok, it's ok love you Re.
Love you too, bye.

Goodbye.

Page 7 of 7

6-2-1-007
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 114 of 122

Transcript Phone Call 10.62.0.21-758bb74a0a3e0015751f265a7517e6f1 winner4.wav
4 June 2017 — 20:01:18-20:15:34

361-522-7861
[Time stamp 13:24-13:56]
WINNER: And I just wanna see you guys, and | wanna see my cat and my dog. Oh I’m not
gonna see my dog —
BILLY WINNER-DAVIS: Yeah | know.
WINNER: Visit her -
BILLY WINNER-DAVIS: [| know.
WINNER: | feel really bad, | didn’t let her sleep with me Friday night cause | was —
BILLY WINNER-DAVIS: Aww.
WINNER: | know we didn’t snuggle. They let me hug her while we were waiting. They

were searching the house, and | just went in the backyard and sat with her.
Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 115 of 122

Transcript Phone Call 10.62.0.21-758bb74a0a3e0015751f265a7517e6f1 winner4.wav

AUTOMATED VOICE:

(Music).

AUTOMATED VOICE:

(Music).

AUTOMATED VOICE:

(Music).

AUTOMATED VOICE:

(Music).

AUTOMATED VOICE:

(Music).

AUTOMATED VOICE:

(Music).

AUTOMATED VOICE:

AUTOMATED VOICE:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

4 June 2017 — 20:01:18-20:15:34

361-522-7861

Hello please hold while we attempt to connect your call. We are attempting to
receive acceptance information from your called party. This may take up to two

minutes. Please continue to hold.

We are attempting to receive acceptance information from your called party.
This may take up to two minutes. Please continue to hold.

We are attempting to receive acceptance information from your called party.
This may take up to two minutes. Please continue to hold.

We are attempting to receive acceptance information from your called party.
This may take up to two minutes. Please continue to hold.

We are attempting to receive acceptance information from your called party.

This may take up to two minutes. Please continue to hold.

We are attempting to receive acceptance information from your called party.

This may take up to two minutes. Please continue to hold.

We are attempting to receive —

Telecommunications services provided by Securus Technologies. For more
information on products and services visit www.securustech.net. Calls are
subject to recording and may be monitored. You may start your conversation
now.

Hello.
Hey sweetheart.

Hey how are you guys doing?

Oh we’re doing ok. We’re in Gulf Port, Mississippi, we just got, or Biloxi, coming

up by Biloxi, Mississippi. Just got done eating at Taco Bell, yeah (cough) So, it

Page 1 of 8

6-3-1
WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

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BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

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BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 116 of 122

was really rainy rainy from Texas into Louisiana, pretty much all the way into
Louisiana, off and on rain. So but, traffic hasn’t been too bad.

Yeah
But everything’s good. How are you doing?
I’m gocd, I’m | got a hold of Britty finally.

Yeah she texted me. That’s good yeah. Cause | called her, or | texted her and
then called her and let her know and told her. She said yeah she should have
known by all the calls that were coming from that number. But yeah, so. But
that’s good, I’m glad. So uh, what's Kathy's last name? Do you know?

Urn, Ellis. E-I-l-i-s.

It’s what?

Ellis, E-I-I-i-s,

Ok.

Yeah.

Ok. Alright is that F as in favor, or S as in street?
Street.

Street ok. Alright. Ok. Yeah I looked on your Facebook and | didn’t see any
Kathy’s, but | thought maybe | could do a kind of search for her and try to,
because she hasn't called me or anything yet.

Yeah it’s still a little early.

Yeah so, and you said she lives around the Atlanta area right?
No no, she was just working there that day. Um, she’s out —
Oh ok.

in Augusta.

Gh ok.

Yeah.

Cool ok. Alright and then Brittney did want me to let you know that she did get a
hold of, uh, some of the people —

Oh she did?
Yeah that that you had given her, uh, names of. So yeah.

Perfect. | was really worried about it (laugh).

Page 2 of 8

6-3-1-002
BILLY WINNER-DAVIS:

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BILLY WINNER-DAVIS:

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BILLY WINNER-DAVIS:

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BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 117 of 122

Yeah | know, yeah.

She went off, | don’t understand why that’s part of it.

Mmhmm. Yeah she said that Lane and Don, she messaged both of them, so.
Ok.

So anyway, good yeah. So how has your day been?

Really slow.

Oh, like.

Yeah.

Is there anything to do?

Well there’s this one really nice girl and | teach her yoga.

Oh good.

So we did that. And then | did a bunch of push ups, squats, and —
Good, alright.

Been working out and eating and—

Good (laugh) and the food? How’s the food?

It’s alright. | mean. | guess when | got in last night | was afraid to tell them, they
were like any dietary aller, allergies? | was like no allergies, you know. And then
today they were passing out turkey sandwiches and I’m like hey do you have
any nonmeat options and they were like why did you say anything? And | was
like cause | was scared.

(Laugh). (Sigh). Yeah.

But all the staff here is really nice —

Oh.

So they’re not, not going to be like, well you can do that or not to eat.
Mmhmm.

It’s just a process, but, you have to eat. | hear the national anthem, so | think
they found the game (laugh).

Oh wow ok, so you guys get to watch TV?
Yeah we have all the channels.

Oh wow, good.

Page 3 of 8

6-3-1-003
WINNER:

BILLY WINNER-DAVIS:

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BILLY WINNER-DAVIS:

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BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 118 of 122

(Laugh).

Well that’s good. Alright —

I] know you can’t come tomorrow —

(Sigh).

But | hope you guys get in and get some rest. | just hope the house —
Oh we will.

I just hope the house isn’t too filthy. Like, you know what | mean, you guys are
going to come in super late or early —

Mmhmm.

And like the house is still going to be torn up and you guys just aren’t going to .
be able to do anything.

Ah it'll be fine, i think we'll get in tonight and be so tired that we'll just crash.
And then tomorrow we’ve got, we do want to figure out where the jail is, to um.

Yeah it’s something, it’s the the —

Well it’s in Lincolnton, so ~

Yeah Lincolnton County. It’s not Lincoln...
Right yeah.

..county, Lincolnton County —

Yeah yeah.

It’s just off School Street, S-c-h-o-o-l.

Ok well ok yeah. And with with Google and all that it’s not gonna be hard. You
know, and so I do want to —

It's about an hour drive, so if it looks like it’s going to be like 50-60 minutes
away then you’re in the right place —

Ok, alright good. So and, um, kinda play it by year as far as what we can do. And,
um, if we call them and they don’t give us any information they don’t, if they do,
great. Oh I know. So figure out what we’re going to do. And yeah. Gary’s gonna
have to check on our vehicle because it’s it sounds like we have a tire that’s
making noise but -

Oh I’m sorry about that.

Oh it’s not, it’s not a big deal. That’s um, not a big deal. Something that can
easily be checked into and, um, taken care of if it needs to be taken care of. So,

Page 4 of 8

6-3-1-004
WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

GARY DAVIS:

BILLY WINNER-DAVIS;

WINNER:

BILLY WINNER-DAVIS:

(Pause)

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 119 of 122

um, and you know me, as many miles as I’ve put on my vehicle, not not like you
know it would be a surprise (laugh).

Well when you drive you tap the breaks.
| do what?
When you tap your foot.

Yeah. | don’t think | tap the breaks, | tap the gas is what | do. | ease off and then
tap tap. | don’t tap the breaks very much. Yeah that’s what you feel, that’s what
was driving you crazy when you were with me. I notice | do that a Jot.

Hmm.

Yeah so, yep. And Gary’s been doing a great job of driving today, I’ve helped him
all the way (Laugh).

» (Ui)...

But, um, yeah. He’s trying to say that he had me in the trunk for a couple of
hours and | quieted down after that, but no that wouldn’t, no. No that didn’t
happen. We've been listening to a book, a book that we started, gosh when did
we start it? ( think we started it the week we went to Jill’s house, um. Started
listening to this book. So | have been listening to it since, this is our first time
taking a road trip together since. So we've been listening to that all day. Which
that, that help, that really helps the trip go good, cause when you’re listening to
a book. So. Yep. And | saw a dead alligator on the side of the road.

Ew.

Yeah it wasn’t a big one, but it was | think it was a dead alligator, it looked like a
dead alligator. And then Gary said that he saw one over on the other side, so it
was going through the bayou, the swamp area so. | missed that one but, um,
yeah.

So all in all, it's been an ok day on the road.
Good.

Mmhmm. So, but 1 kept thinking ! was going to call Kim, but f think I'll wait until
we know more.

Yeah.

Yeah and you know, why get her all anxious and stuff. We'll just wait until we
know a little more. Um. I’m just pray that you get bail, or you get some sort of
bond or bail, or something.

Yeah | really, God, ! hope | get bail.

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6-3-1-005
BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

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WINNER:

BILLY WINNER-DAVIS:

WINNER:

Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 120 of 122

| haope so. I’m praying, I’m praying real hard. That then we know where we can
go from there, you know?

Yeah.
Yep.
Do you know if somebody gets bail, like they're immediately released or?

Ur, it depends, if it’s a money amount then they ask you to, then you have to
hook up with, | think you have to hook up with | don’t know | don’t know how
that works. You have, you have to put down 10%.

Ok.
You know.
| get that.

Yeah so that’s usually what it is, so. And then like they may have conditions, like
| said before. Whether you can travel out of the area or not. Whether you have
to check in, sometimes you have to you know do a check in. So, um, and you
have to show up to your court, for sure. If you don’t show up for your court then
you forfeit all the money and you owe the full amount.

Yeah.

You know, for whatever it is. I just really hope you'll, you get something,
whether it’s kind of a bail, because even then if you have to stay in the Georgia
area you can you can still teach your yoga and you know spinning and whatever
else you need to do —

Yeah.

To get yourself going, you know.

It is just like probation then?

Kind of yeah, Yeah until the court hearings so.
Ck.

Yeah, yep. So, | mean, you don’t have a record of any kind whatsoever. You have
served your country. You’re you know. So, It’s not like you’re not trustworthy,
where you’re, you're gonna show up for your court. You know, you’re not gonna
try to run or anything like that.

Yeah.
So (Cough).

And I just wanna see you guys, and | wanna see my cat and my dog. Oh I’m not
gonna see my dog—

Page 6 of 8

6-3-1-006
BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

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BILLY WINNER-DAVIS:

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BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 121 of 122

Yeah | know.

Visit her —

I know.

| feel really bad, | didn’t let her sleep with me Friday night cause | was —
Aww.

1 know we didn’t snuggle. They let me hug her while we were waiting. They
were searching the house, and I just went in the backyard and sat with her.

Yep. (Pause}. Yep. (Pause). | don’t know. But everybody there sounds really
decent right? They sound nice? —

Yeah.

Ok yeah.

For a majority of them being in here on assault charges, everybody is really nice.
(Laugh).

| tell you what though, one lady here, mom, she is so fat.

Oh.

She’s got fat rolls, but her boobs hang lower than all of them.

Wow.

(Laugh).

Oh.

Of course my best friend here, she did meth, so she ain’t got no teeth.
Oh bummer. (Sigh). You'll learn a Jot of life lessons.

Yeah.

In a very short period of time there. But | know that you'll be a sweet person to
everybody ‘cause that’s who you are.

Yeah.

Mmhmm. Yep.

And I'm wearing a bed sheet because they're doing laundry (laugh).
You what?

’m wearing my bed sheet because they’re doing laundry.

Oh (laugh).

Page 7 of 8

6-3-1-007
WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

AUTOMATED VOICE:
WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

END PHONE CALL.

Case 1:17-cr-00034-JRH-BKE Document 234 Filed 02/27/18 Page 122 of 122

Yeah (laugh) having a great time Mom, this is the best summer camp ever.
Oh my gosh. Yeah.

| hope you guys are safe during the night. If you guys need to stop stop. Just not
in Alabama.

No no we're going to be fine. We got this, we’re gonna be fine, we got this. We
got our book to finish and Gary's doing great and I’m doing fine.

Alright thank you guys so much.

Ch no problem —

You guys have been so good to me.

Ah | just yep, we'll be there and we will —

You have one minute remaining on your call. You have one minute left.
Alright.

Yep whatever happens, | can’t wait to find out what gonna happen tomorrow
and then we'll go from there.

Alright. | love you mom.

| love you babe. | love you, love you, love you so much.
Bye. .

Ok bye.

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6-3-1-008
